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UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

PANAMA CITY DIVISION
IN RE:
KEVIN CHANDLER MARTIN CASE NO.: 18-50157-KKS
CHAPTER 7
DEBTOR.
/

 

AMENDED MOTION FOR INREM RELIEF FROM AUTOMATIC STAY

 

 

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-2, the Court Will consider the relief requested in
this paper Without further notice or hearing unless a party in interest files a
response Within 21days from the date set forth on the proof of service plus an
additional three days for service if any party Was served by U.S. Mail, or such
other period as may be specified in Fed. R. Banl<r. P. 9006(f).

If you object to the relief requested in this paper, you must file an objection or
response electronically With the Clerk of the Court or by mail at l 10 E. Park
Avenue, Suite lOO, Tallahassee, FL, 32301 and serve a copy on the movant’s
attorney, J. Christopher Barr, P.O. Box 860, Panama City, Florida 32402, and any
other appropriate person Within the time allowed. If you file and serve a response
Within the time permitted, the Court Will either schedule and notify you of a
hearing or consider the response and grant or deny the relief requested Without a
hearing.

If you do not file a response Within the time permitted, the Court Will consider
that you do not oppose the relief requested in the paper, Will proceed to consider
the paper Without further notice or hearing, and may grant the relief requested

 

TO THE HONORABLE JUDGE OF SAID COURT:

 

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COMES NOW, AMERIS BANK, a Georgia corporation, successor in
interest by merger of PROSPERTITY BANK (hereinafter the “Movant”), by and
through its undersigned counsel, and moves for in rem relief from the automatic
stay, pursuant to ll USC §362(d), and support states as folloWs:

l. On May 29, 2018, the Debtor filed for relief under Chapter 7 of the
United States Bankruptcy Code.

2. Jurisdiction in this cause is granted to the Bankruptcy Court pursuant
to 28 USC §1334, and ll USC §362, and all other applicable rules and statutes
affecting the jurisdiction of the United States Banl<ruptcy Court generally.

3. On December 23, 2013, Movant became the successor in interest as
the surviving corporation of its merger With Prosperity Bank pursuant to the
Articles of Merger filed With the Florida Department of State on December 20,
2013 (the “Articles of Merger”). A true and correct copy of the Articles of Merger
are attached hereto and incorporated herein as Exhibit A.

4. On or about l\/Iarch 30, 2007, Mr. Martin executed and delivered to
Prosperity Bank (predecessor in interest to the Plaintiff) a Consumer Real Estate
Secured Note (hereinafter the “Original Note”) in the principal amount of
$151,291.14 (hereinafter the “Loan”). A true and correct copy of the Original
Note is attached hereto and incorporated herein as Exhibit B.

5. On or about March 30, 2007, Mr. Martin executed and delivered to

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Prosperity Bank (predecessor in interest to the Plaintiff) a Mortgage in the original
principal amount of $151,291.14 (hereinafter the “l\/Iortgage”) securing the Loan
and Original Note. The Mortgage Was recorded April 26, 2007 in Official Records
Book 436, Page 773, in the Public Records of Gulf County, Florida. A true and
correct copy of the Mortgage is attached hereto and incorporated herein as ELibit
Q,

6. The Mortgage encumbers that certain real property located in Gulf
County, Florida including improvements Without limitation the 2003 PoWer
DoubleWide, VIN CV03AL0260419B (hereinafter the “Doublewide”) and real
property located at 280 Cary Whitfield Road, Wewahitchka, Florida 32465 being
more particularly described as folloWs:

See attached Exhibit D

Hereinafter the “Property”.

7. On or about March 30, 2007, Mr. Martin executed and delivered to
Prosperity Banl< (predecessor in interest to the Plaintiff) a Consumer Security
Agreement (hereinafter the “Security Agreement”) further securing the Promissory
Note and Loan. A true and correct copy of the Security Agreement is attached
hereto and incorporated herein as Exhibit E.

8. On or about October 27, 2011, Mr. Martin refinanced the Loan and

executed and delivered to Prosperity Bank (predecessor in interest to the Plaintiff)

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a Consumer Real Estate Secured Balloon Note (hereinafter the “2011 Note”) which
renewed the Loan and renewed and replaced the Original Note. A true and correct
copy of the 2011 Note is attached hereto and incorporated herein as Exhibit F.

9. On or about April 11, 2013, Mr. Martin executed and delivered to
Prosperity Bank (predecessor in interest to the Plaintiff) a Commercial Promissory
Note in the principal amount of $138,942.54, with a maturity date of March 30,
2018 (hereinafter the “Operative Promissory Note”) which renewed the Loan and
renewed and replaced the 2011 Note. A true and correct copy of the Operative
Promissory Note is attached hereto and incorporated herein as Exhibit G.

10. On or about April 11, 2013, Mr. Martin executed and delivered to
Prosperity Bank (predecessor in interest to the Plaintiff) a Business Loan
Agreement further evidencing the Loan (hereinafter the “Loan Agreement”). A
true and correct copy of the Loan Agreement is attached hereto and incorporated
herein as Exhibit H.

11. On or about April 11, 2013, Mr. Martin executed and delivered to
Prosperity Bank (predecessor in interest to the Plaintiff) an Assignment of Leases
and Rents further securing the repayment of the Loan and Operative Promissory
Note. A true and correct copy of the Assignment of Leases and Rents is attached
hereto and incorporated herein as Exhibit I.

12. The Mortgage, Security Agreement, Operative Promissory Note, Loan

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Agreement, and Assignment of Leases and Rents are hereinafter collectively
referred to as the “Loan Documents.”

13. The Property is not listed as exempt on the Debtor’s Schedule C filed
with Debtor’s Voluntary Petition.

14. Debtor is in default pursuant to the Loan Documents. The Debtor
failed to pay the balance of the Loan owed on or since the maturity date of March
30, 2018.

15. Pursuant to the Statement of Intention filed by the Debtor, the Debtor
intends to surrender the Property. The Affidavit in Support of the Motion for
Relief from Stay is attached by the Movant as Exhibit J hereto.

16. The value of the Property is estimated by the Debtor to be $98,208.00
as evidenced by Schedule D to the Debtor’s Petition.

17. The value of the Property is insufficient to provide adequate
protection to the Movant. It would be inequitable to permit the Debtor to retain the
Property, as there is no equity in the Property and it is not necessary for an
effective reorganization

18. Furthermore, the Movant is not receiving any payment from Debtor to
protect against the further reduction or erosion of its collateral position in the
Property.

19. If Movant is not permitted to enforce its security interest in the

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Property or provided with adequate protection, it will suffer irreparable harm,
injury, loss and damage.

20. Once the stay is terminated, Debtor will have minimal motivation to
insure, preserve or protect the Property. Therefore, Movant requests that the Court
waive the 14-day stay imposed by Fed. R. Bankr. P. 4001(a)(3).

WHEREFORE, Movant respectfully requests that the Court enter an Order:

a. terminating the automatic stay, in rem; and

b. permitting the Movant to take any and all steps necessary to exercise
any and all rights it may have in the Property described herein; and

c. allowing Movant to gain possession of the Property; and

d. waiving the 14-day stay imposed under Fed. R. Bankr. P. 4001(a)(3);

and

e. granting such further relief as the Court deems proper and just.

/s/ J. Chrz`SFOD/'zer Barr, Esq.
J. Christopher Barr Esq.
Fla. Bar No.: 17937
BRYANT, HIGBY, & BARR,
CHARTERED
833 Harrison Avenue (32401)
Post Office Box 860
Panama City, Florida 32402
Telephone (850)763-1787
cbarr@brvanthigbv.com
iarmstrong@brvanthigbv.com
Attorney for Movant

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Amended
Motion for In Rem Relief from Automatic Stay was served by Notice of Electronic
Filing to Charles M. Wynn, attorney for Debtor, Kevin Chandler Martin at

candv@w\/nnlaW-fl.com; Trustee Mary W. Colon at trustee@marvcolon.com and

 

t`l33(c§ecfcbis.com, and the United States Trustee, USTPRegion2 l .TL.ECF@usdoi
and by U.S. Mail to PRA Receivables Management, LLC, P.O. Box 41021,

NOrfOlk,vA 235410nthis 13 day OfJuly, 2018.

/s/ J. Christopher Barr, Esq.
J. Christopher Barr, Esq.

Fla. Bar No.: 17937
BRYANT, HIGBY, & BARR,
CHARTERED

833 Harrison Avenue (32401)
Post Office Box 860

Panama City, Florida 32402
Telephone (850)763-1787
cbarr@brvanthigbv.com
iarmstrong@brvanthigbv.com
Attorney for Movant

 

 

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ref-§§
ARTICLES or MERGER 'F \LEU
°F 911 u= 29
PRosPERrTY BANK 1113 DF.C 20
m"ro ` _ r_ ' ,J'r 3\,\.1’€
.AMErus BANK IA`,_LM', -.`5`51.€ FLGR\DA
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Pursuant to the provisions of Section 607. 1105 of the Florida Business Corporation Act
(the “Act”), Ameris Banlc, a Georgia slate-chartered bank, and Prosperity Bank, 11 Florida
banking corporation, do hereby adopt the following Articles of Merger

FIRST: The names of the corporations which are parties to the merger (the "Mcrger")
contemplated by these Articles of Merger are Ameris Bank and Prosperity Bank. The.surviving
corporation in the Merger is Amcris Bank.

SECOND: The Plan of Merger' rs set forth in the Bank Plan of Merger and Merger
Agreement by and between Ameris Bank and Prosperity Bank dated as of May 21, 2013 (1he
“Merger Agreement"). A copy of the Merger Agreement is attached hereto and made a part
hereof by reference as if fully set forth hcrein.

'I'HIRD: The Merger shall become eH`ective at 12:01 a.rn. EST on December 23, 2013 in
accordance with the provisions of Section 607.1105(b) of the Act.

FOURTl-I: The Merger Agreement was adopted by the board of directors of Ameris
Bank on May 21, 2013 and by the sole shareholder of Prosperity Bank on April 26, 2013.
Amen's Bank shareholder approval was not required

[Signature page follows.]

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IN WITNESS WHEREOF, the parties have caused these Articles of Merger to be
executed effective as of December 20, 2013.

 

AMERIS BANK PROSPERJTY BANK

By: i"' By: w 6 ,“ “" '
Bdwin W. Hor!man, Ir. James E. Creamer, Jr.
Chief Executive Offieer President and Chief Executive Offieer

' ' ‘ ”" 'C'aS€ iS'-'BO‘_|_€?"-KKS_DUC”Z'¢-i'_FHEd‘O'T/l€/l% Pag€'l'O Of 49 *

§:mk Plo.n of Merger and Merger Agreement

(See attached.)

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BANK PLAN OF M`ERGER AND M.ERGER AGREEMENT

This Bank Plen of Merger and Merger Agreement (this “Ageement“) is made and
entered into as of the 213t day of Msy, 2013, by and between Ameris Bank, a Georgia state-
chartened bank (the “Surviving ng!g"), and Prosperity Bank, a Florida state-chartered bank (the
"M§;ging_M") (the Merging Bank and the Surviving Bank are hereinafter collectively referred
to as thc "Constig;egt §§g=k§”).

RECITALS

WHEREAS, Ameris Bancorp, a Georgia corporation and the sole shareholder of the
Surviving Bank (“Ameris"), and 'I`he Prosperity Banking Company, a Florida corporation and
the sole shareholder of the Merging Bank (“Pro§gerity"), have entered into that certain
Agreement and Plan of Merger dated as of May 1. 2013 (the “HMMW"),
pursuant to which Prosperity would be merged with and into Ameris (thc “Comp_nny Merger");

WHEREAS, the Bcards of Dircctors of the Constituent Banks deem it advisable and for
the benefit of the Constiruent Banks that the Merging Bank merge with and into the Surviving
Bank immediately upon, and subject to, the consummation of the Cornpany Merger (the

“Merger”); and

WHEREAS, the Financinl lnstitutions Code of Gcorgia (the “_C_q_d_g”) authorizes the
merger of a bank organized under the Codc and a bank having a different home state, subject to
applicable provisions of the Code and the approval of such merger by the Department of
Banking and Finanee of the State of Georgia (the “Depn_r_'tment")',

NOW, THEREFORE, for and in consideration of the premises and other mutual
agreements, covenants, representations and warranties contained hercin, the parties hereto agree

as follows:

l.
MERGER; EFFECTIVE TIME

1.1 Mgger. At the Eff`ectivc Time (as hereinafter def'med), the Merging Bank shall
be merged with and into the Surviving Bank, in accordance with the Code. 'Ihe Surviving Bank
shall survive the Merger, the separate existence of the Merging Bnnlt shall cease and the Merger
shall in all respects have the effect provided for in the applicable provisions of the Code.

1.2 Efi`ective fljirne. Sttbject to the consummation of the Cornpany Merger in
accordance with the I-Iolding Ccmpany regret-meritl Articles of Merger evidencing the trmiseetions
contemplated herein stull be delivered to the Department for filing in accordance with the Code.
The Merger shall be effective upon the issuance ofa certificate of merger with respect thereto by the
Secretary of State of the State of Georgia (the ‘§ffeetive Tirne").

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II.
NAN[E OF SURVIVING BANK; ARTICLES OF
INCORPOR.ATION; BYLAWS; DIREC'I`ORS; OFFICERS

2.l Narne of Surviving §nlr. The name of the Surviving Bank shall be “Ameris
Bank” or such other name as the Surviving Bank shall be operating under immediately prior to

the Ef}`eetive Time.

2.2 Miglg§ o;flncog)_gration of the Surviving Bank. The Articles oflncorporation of

the Surviving Bank in effect at the Effective Timc shall (until further amended) continue to be
the Articles of Incorporation of the Surviving Bank.

2.3 Byiayya of the Surviving Bank. 'I'he Bylaws of the Surviving Bank in effect at the
Ef`t`ective Time shall (until further amended) continue to be the Bylaws of` the Surviving Bank.

2.4 Digg§ors of the Surviyjpg l§arrlr. At the EH`ective ']`ime, the directors of the

Merging Bank immediately prior thereto shall cease to hold office, and each director of the
Stn'viving Bank immediately prior thereto shall remain a director ol` the Surviving Bank and shall
thereaher hold such office for the remainder of his or her term of office and until his or her
successor has been elected and qualitied, or as otherwise provided in the Articles of
Ineorporation or the Bylaws of the Surviving Bank or by the Code.

2.5 Egecg_tjve Officers gf` §§ Surviying Bank. At the Effcctivc Tirne, the executive

officers of the Merging Bank immediately prior thereto shall cease to hold ofIice, and each
executive officer of the Surviving Bank immediately prior thereto shall remain an executive
officer of the Surviving Bank, and each cf the foregoing shall thereafter hold such office for the
remainder of his or her term of office and until his cr her successor has been elected or appointed
and qualified, or as otherwise provided in the Articles of Incorporation or the Bylaws of the
Surviving Bank or by the Code.

III.
SECURIT[ES

The shares of the capital stock of the Constituent Banks shall be converted as follows:

3.] Stock of the Surviving Bgt§g. At the Ef`t`cctive Time. each share of the common
stock of the Surviving Bank issued and outstanding immediately prior to the Efi`ective 'l`ime shall
remain outstanding shall be unail`ectcd by the consummation of` the Merger and shall condone to

be held by Ameris.

3.2 §tgg}g of the Merging BYL. At the Efi`ectivc Tirne, each share of the common

stock of the Merging Bank issued and outstanding immediately prior to the Efl`cctive Time shall,
by virtue of the Merger and without any action by thc holder thereof, be extinguishedl

lv,
GENERAL

4,1 A roval of Shar Idars h De artm n . This Agreement is subject to
approval by the shareholders of the Constituent Baaks and by the Department

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4.2 Neceasgy Action, The directors and officers of the Constituent Banks shall carry
out and consummate this Agreement and shall have the power to adopt all resolutions, execute
and tile all documents and take all other actions that they may deem necessary or desirable for
the purpose of effecting the merger of the Constituent Banks in accordance with this Agreement

and the Code.

4.3 Conntegarrs, 'I`his Agreement may be executed in two or more counterparts,
each of which shall be deemed an original, and it shall not be necessary in making proof of this
Agreeth or the temts hereof to produce or account for more than one of such counterparts.
Executed comiterparts may be delivered by facsimile or other electronic h~ansmission.

4.4 Termination. This Agreement may be terminated at any time prior to
consummation of the transactions contemplated by the Holding Company Agreement by written
consent of the parties hereto, and this Agreement shall be automatically terminated upon
termination ofthc Holding Company Agreement

 

[Rems.inder ofpage intentionally left blank; signature page follows.}

 

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IN WI'I‘NESS WH.EREOF, each of the parties to this Agreement has caused this
Agreement to be signed and delivered by its duly authorized officers, as of the date first written

above.
ATTEST: AMERIS BANK

By=_@_?/éw`é/MM/

[l.s: .Q_.l'\l¢.§-` 'E:\.`e.m:.¢..l'_\_¢t.'(?c¢,‘&_¢:r

 

 

 

[CORPOR.ATE SEAL[
ATTEST: PROSPERITY BANK
.,. , . . By:
Secretary lts:

{CORPORATE SEAL]

[Signamre Page to Bank Plan ofMergnr and Merger Agreemanl]

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IN W[TNESS WHEREOF, eads of the parties to this Agremteut has caused this
Agreemeru to be signed and delivered by its duly authorized ofl~icers, as of the data im written

above

 

 

 

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ISignao.ue Page to Bank Plaa ofMe¢~gcr and Merger Agreement]

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C()NSUMER REAL ESTATE SECURED NOTE Prosperity Bank
100 South Park

St. Augustine, Florida 32086

 

 

 

 

 

 

(800)347-9680
' _ [.D.»\N N'UMHER MATURITY SATE FRINC|'PAL AMO'UN'[' n TRANSAC"ITON DATE I'NTER.EST R.»\TE
` _"'-‘*“ _ i"r‘=':h.r“- ae_,._t. S‘§'r?'.:" ` `_ " __r:'_=i_i"» FDPL_____ _,_ 6-.““%__ …
l l.().-'t-N i’-llRPO§IiZ':-P'crsonal P]:cp;n;s l n l -_ l _m~__f

B()RROWER lN FORMAT]ON

kevin Chandler Martin
PO Box 328
Wewahitchka, FL 32465

 

N()TE. l`his Consumer Rot\l listotc Secured Note will bc referred to in this document as the "Note" or as thc "Agreement."

LENDER. "l.cndcr." "you"' or "your" means Prosperity Bank, its successors and assigns, whose address is 100 South Park. St. Augustine,
i"l\tritial 32086 .

Bt)RROWER. "Borrowcr_" "l.'l "me," "my." or "mine" means each person who signs this Note.

PROMISE TO PAY. l promise to pay. according to lhc terms below. on or before thc Maturity Date, the principal amount of One Hundred
Fit'ty-one Thousand Two Hundred Ninety-one and 14/100 Dollars (3151,291.14) and all interest and any other charges. including service
::hz\rgcs. to thc order ol` l,cnder at its office at the address noted above or at such other place as l.ender may designate in writing l will make all
payments under this Nolc in thc form ofcush. check or money order in lawful United Statcs Dollars. l understand that Lender may transfer this
\l\\lc. 'l`hc l endcr. or anyone who takes this Note by transfer and who is entitled to receive payments under this Note, is called the "Notc
ila-ldcr "

PAYMENT SCHEDULE. 'l‘his loan will be paid according to the following schedule; 239 consecutive payments of principal and interest in
\.ht amount ol`$l,154.54 beginning on April 30, 2007 and continuing on the same day ol` each month thereafter_ This will be followed by i
eminent of principal and interest in the amount of $1,151.31 on March 30, 2027. Thc unpaid principal balance ol` Note_. together with all
\ct~rucd interest and charges owing in connection therewith_ shall be due and payable on the Maturlty Date` All payments received by the
l.t'\\dcr from the l'Jorrowcr for application to the I.uan may bc applicd to thc Borrowe\‘s obligations under the Loan in such order as determined

p) thc l.-cndcr

PA YMENTS. l\/ly payments are to be made according to the payment schedule shown on this Note in lawful United States dollars until l have
;:)nnl u|| ol`the principal and interest and any other charges that l may owe under this Note. l will make my payments at your address as shown
on this l\‘oto or at a different place if required by you, You may accept late or partial payments as well as payments marked "paymcnt in fu|l" or
with other restrictive endorsements without losing any oi` your rights under this Note and without ali'ecting thc unpaid balance ol' my loan as
rcllcctcd on your records You may apply my paymean to amounts owing in whatever ordcr you choose unless a specific order is required by
lti-.\

lN'l`EREST RATE AND SCHEDULED PAYMENT CHANCES. Tl\c interest rate on this Note will be fixed a16.696°/o per annum.

Nolbing contained herein shall be construed as to require the Borrower to pay interest al a greater rate than the maximum allowed by la\v.
interest on this Note is calculated on a 365/360 day basis. 'l`he unpaid balance oftl'iis loan after Maturity. whether by acceleration or otherwise
»'hnll he subject to o Post-Nlttturity Rate ofinterest equal lo 18.000% per annum,

ll\'TEREST RATE AND EARLY PAYMENT REBATES. interest will bc assessed on thc outstanding balance ol`my loan from lime to time.
|nlcrcst v\ill begin to accrue on March 30, 2007.

ll` ni) payments_ as described in thc section l’aymcnt Schetlulc, are such that my regular payment will cause the Amounl Financod to bc reduced
-:lul'in_i; the term on my loztn, then ifl make payments eurly__ thcre will be a decrease in the interest charged l`or my loan and ii`l make payments
lnicr than thc doc dale. there will be an increase in the amount ofinterest thut l will puy. `l'o thc extent required by law. unearned interest and/or
other linanct: charch will bc refunded ifl pay my loan olfearly.

ll’ thc interest rate assessable under the terms o|' this Nole. or any other l'ec or charge called for exceeds permitted limiis. as interpreted by
applicable |uw, thcn such ratc. fec. or charge will be reduced to the permitted limlt. As selected by you, any excessive amount already paid by
mr will be credited to my loan or refunded to mc. 'l`he cl`fccl ot' this is intended lo be construed as equivalent to the excessive rate, t`\:c. or charge
nor l\n\ ing been paid or payable at al|.

Sl-ICUR]TY. 'l`his Note. and any extensions or renewals ol` this Note_. is secured by a Mortgage or Dccd ol"|`rost or Security Dccd on real
propcn_v dated March 30, 2007 (the "Security lnstrumcnt"). l`hc rca| property that is thc subject ol` thc Security instrument shall bc called
"l'.-'opcrty" in this Note 'l"he Security lnstrument protects you li'om possible losses which might result ifl do not keep my promises under this
Notc. and describes how nnd under what conditions l may bc required to make immediate payment in full ofs|l amountsl owe under this Note

in addition lo thc Security instrument described abovc. thc following described additional collateral has been pledged to secure this Notc:

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.; -~t.mt-. ash E\-mt- seamen .\io\t- mr:o:a me i orr aun.uas-usi: . m nia_uso_lses

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Manufactured Home - 2003 Power Doublewide - lD#CV03AL02604l9A as evidenced by the Security Agreement dated March 30,
2007.

o Vehicie - 2003 Power Doublewide - lD#CVOJALOZGOAUB as evidenced by the Security Agreement dated March 30, 2007.
l`lie above-described additional collateral shall be called "Collalerai" in this Note.
l liavc given no other Co|latcral for my loan. Except for your security interest or lien. the Co||ateral is owned free and clear from any security
interest. lien_ or other adverse claim other than as now disclosed to you. l will not allow any other security interest lien. or adverse claim to
attach Moilatera|.
l .igre<:l that l \vill fully cooperate with you in placing and maintaining your security interest or lien in the (_`.ollateral. l authorize you to tile a
conforming l-`inancing Statement or other similar document to perfect your security interest in the Collatcrai, l agree that l will execute any
documents necessary for you to perfect your security interest or lien, and grant you a power of attorney to file or execute any document on my
behalf that is necessary to obtain or maintain your security interest in the Col|ateral.
l will not sell or otherwise transfer ownership oi`thc Co|luterai. l will not use the Co|lateral for any unlawful purposc. l will keep the Collateral

in good repair.

l promise to pay any taxes or assessments on the Coliateral as they come due_ lt'l fail to pay them` you may pay them at your option to protect
your interest and l agree to pay you for your expense li`l fail to puy you_ and it` permitted by |aw, you may add the protective advance to the
balance owing under this Notc_

l./\TE PAVMENT CHARGE. lfany required payment is more than 10 days latc, then at Lender’s option, Lender will assess a late payment
charge t)l`S.l)m}”/o ofthc amount past duc.

PREP.-\YM ENT PENALTY. `l his Note may be prepaid, in full cir in part, al any time` without penalty
ASSUMPT|ON. Somconc buying my dwelling will not be allowed to assume the remainder of my loan on the original terms.

H..-\ZARD OR PROPERTY INSURANCE. l will insure the Property through a company ol` my choice subject to your reasonable approval, as
set forth in the Security instrument l will insure the Col|ateral through a company of my choice subject to your reasonable approval. You will
be named as loss payee or_ at your request mortgagee for your protection. 'l`his insurance will protect the Co|iateral against loss by thel“`t, fire
and collision_. perils within the term "cornprehensive" to the extent applieab|e, and as otherwise required by you, lt will also provide "all risks"
l-ln|l insurance as to any C‘ollateral which is an aircraft or boat and related accessories when applicable l will deliver satisfactory evidence of
such insurance to you.

it | fail to insure the Ci)llateral_ you may do so at your option to protect your interest and you may include any other coverage you feel
appropriate and | agree to pay you l`or any pi'i:t'ttu.tri\sl ll`l ibil to pay you, and il‘ permitted by law, you may add the protective advance to the
balance owing under this Nole. Yuu may increase the amount oi` my regular payment fn order to amortize the added insurance premiums by the
time iny linit| payment is due or. ailernttlivcly. l will end up having a larger linal payment

MATUR|TY DATE. i`|tc unpaid balance owed under this Note is due and payable on March 30, 2027 ("Maturity Date") regardless of any
other provision oi'this Note or other related documents

RETURNED CH ECK FEE. Chcctui or drafts in payment of amounts owing hereunder which are returned to Lender unpaid are subject to a
rcnintt:d check t‘ec eqqu to: ta) the actual amount l.ender is charged by the institution returning the check. draft or order; or (b) $32.00; or (c)
~;tich t\tltcr amount us shall be iillu\w:d by applicable law from time to time; whichever is the greatest; provided. however. the amount oi` the
:'t`~.itirned cheek l`ce will nut exceed the maximum amount allowed by applicable law From time to time. /\t l.ender's discretion, and after any
notice required by applicable iaw. Lender may add such fec to the balance owtng under this Note.

DEF.-\ Ul.'l'. | will tie in default and yuu mny_ to the extent pertained by law. declare the entire unpaid balance ot‘ this loan immediately due and
payable it‘: tai l du not keep tiny promise or perform tiny obligation under this Note or any other contract or Note torn l may have with you; or
i_h'.i l give you thlse or tiiislcndirig information in order to uhtain, ur while l owe on this learn cr {c) l should die or become involved in any
hunki~tiptcy. receivership insolvency-t or custodial proceedings brought by er against mc; or(d) | should have ajudgment or tax lien filed against
inc or any attachment or garnishment should be issued against any of my property or rights. specifically including anyone starting on action or
pri.icectling to seize itrt,\ funds that l may have on deposit with you; ai~id.i"or (a} yuu. in good faith. reasonably believe my ability to repay the
indebtedness owed under this loan. any Collaterai_ or your ability to resort to any Collatera|. is or soon will be impaired. time being ofthc very
Cd'\`k.`lltfk`

!|`permittcd by law. l waive any otherwise required notice of: presentment; tlemtind; acceleration; and. intent to acceleratc.

ii`l utu iri dcl".niit‘ tri the extent permitted by law. without any prior notice or demand unless required by taw, t will have to pay the entire unpaid
balance ot` this loan and you may invoke any other remedies permitted by applicable law or. at your upliori. lagrec to give you the {.'oilnti:rai. ii'
.tii_i ll't do nut give you the (`nll:tternt. then to the extent permitted by |aw, you may enter the premises where thi: Col|atcral is located and take
possession ul' it ‘t‘ou may assert the defense of a superior right of possession as the holder of a security interest to any allegation by me of
wrongful taking and conversion li`pi:t'm'ined by law_ l waive any right l might otherwise have to a hearing prior to a court issuing a replevin
i)r.li.-r in relation to die (.‘ulititem|_

|`<i the extent permitted by |i.iwl l agree to pay all reasonable agent or attorney fees incurred by you in collecting the debt evidenced by this Note
)i~ in lite taking ol'tl'it' C`o|littt:ral.

.- -Ztlt)n t.'op)~iigiit (`omp|imiei.- SvstL-m,~_ inc BB(`F"lllZ§ - 2006 05 ISS www uumpliaiiccsystems cum
ii -\tim\~r Real lis|a\t' $cstnt.'tl \|r\|o » |7|.20'..'4 Pag\i `_' 0|'] 500-908~8_\22- FBX 6|6-9§{>-|!16!|

 

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tn the event ot`del`ault. suit. and judgment against me. you have the right to attach or garnish wages. l expressly Waive any limitation to the
contrary unless the law prohibits such waiver_

You may sell or dispose o|` the Property and/or Collateral, in any manner permitted by law. Al`ter appropriate application ofthc proceeds ol"any
sale l will be liable to pay any resulting deficiency on my loan to you. to the extent permitted by |aw. ln taking possession ot`the Co|lateral_. you
mary come into possession ol` certain of my personal property. ln that event, you may hold such property l"or whatever period of time you feel is
reasonable ll`l do not claim my property during such hold pcriod. you may dispose ot` it without any liability to me.

LlABlLlTY OF PART|ES: JOlNT AND SEVERAL LlABlLITY. livery person signing this Note as a liorrower understands and agrees
lh;it they are jointly and individually obligated to pay all amounts owed according to the terms and conditions ol'this Note.

NOTlCE OF DEFAULT. l|`l am in default, the l,ender may send me awrittcn notice, consistent with applicable law, it'any. telling me that if|
dc not pay the overdue amount by a certain date. the l.cnder may require me to pay immediately the then unpaid balance in i`ul|.

Sth OFF. 'l`o the extent permitted by law. l give you the right to setoll any ol` my money or property which may bc in your possession against
any amount owing under this Note. ’I'his right of setotl`docs not extend to any lR/\. Keogh accounts or similar tax deferred deposit accounts that
l may have with you

O'l`H ER PROM|SES. Rcl'erenee is made to any related mortgage trust deed, security decd_ assignment security agreement, pledge or similar
document l`nr other promises which l make to you and l`or terms and conditions governing my loan. which promises. terms and conditions are
made a part ot`this Note as it`set forth herein.

F()RBEARANCE. \’ou do not lose your rights under this Note il`you delay enforcing them. No failure or delay on the part ot` Lendcr_ and rio
course ol` dealing between Borrnwcr and Lender, shall operate as a waiverol`such power or righl. nor shall any single or partial exercise of any
power or right preclude other or further exercise thereol`or the exercise ul`any other power or right.

GlVlNG OI~` NOTICES. Notice(s) must be given to me by delivering il or by mailing it by first class mail to me at the Property Address above
or nl a di t'!i:rent address i|`l give the Lender n notice ol'm_v diFferent address unless applicable law requires a different method_

N\itrcct_s) that tnust he given to the Lender will be given by mailing it by first class mail to the Lender at the address referred to above or at a
ditli.:rent address il`l am given a notice ol`that different address by the l..endor.

ASS|GNABIL!"|`Y. You moy assign any ot`your rights under this Note without my consent. l may not assign my obligations
SlZVERABlLlTV. lt` any provision of`this Note is determined to be unenforceable or invalid by a court of competent jurisdiction, all other
provisions shall remain in t’ull l'orce and effect.

HEAD|NGS. '|"nc headings preceding text in this Note are l'or my general convenience in identifying subject matter. but have no limiting
impact on the text which follows any ot`the particular heading

G()VER,NINC LAW. l understand and agree that this Note will be governed by the laws ofthe State of Florida except to the extent that l`ederal
|:tv\ controls

-\ I`TORNEYS' P`EES AND 01'HER COSTS. tt' legal proceedings are instituted to enforce the terms ot` this Agreement, Borrower agrees to
ptl\- all costs ol`thc l.en<|er in connection therewith. including reasonable ntterncy:s' l`ees, to the extent permitted by |a\v.

D()CUMENTA RY STAMP TAX. The Florida I)ocumentary Stamp ’l`ax. us required by law, in the amount 01`$529.55, has been paid.

ORAL ACREI:`.MENTS DlSCLAIMER. 'l`his Note represents the final agreement between the parties and may not be contradicted by
-:\ ldencc ol'prr`or. contemporaneous or subsequent oral agreements of the parties. Thcrr: are no unwritten oral agreements between the parties

B_v signing this Note. each Borrower acknowledges reading, understanding and agreeing to all its provisions

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l\'evin Chandler Martin Date

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loan NUMBF.R; xxxxxx7030
MORTGAGE

'l`lllS MOR"I`GAGE ("Sccurity [nstrurnent") is made on March 30, 2001 The mortgagor is Kevin Chandler
Martin, a single person, whose address is PO Bex 328, Wewahitehka, Florida 32465 ("Borrower"). Borrower is
not necessarily the same as the Person or Persons who sign the Note, The obligations of Borrowers who did not
sign the Note are explained Further in the section titled Suecessors and Assigns Beund; Joint and Several
Liability; Accommodation Signers, This Security lnstrument is given to Prosperity Banlt, which is organized
and existing under the laws ofthe State of Florida and whose address is P,O. Drawer 1690, Saint Augustine,
Florida 32085 {"Lender"). Kevin Chandler Martin owes Lender the principal sum of One Hundred Fil'ty-one
Thousand Two Hundred Ninety~one and 14/100 Dollars (U.S. $151,291.14), which is evidenced by the note,
consumer loan agreement. or similar writing dated the same date as this Security lastrument (tlie "Note"), which
provides for periodic payments ("Periodic Payments"). This Security instrument secures to Lender: (a) the
repayment of the debt evidenced by the Note, with interest, and all renewa|s, extensions and modifications of the
Note; (b) the payment of all other sums, with interest, advanced to protect the security of this Security instrument
under the provisions ol` the section titled Proteetion of Lender‘s Rights in the Property; and (c) the performance
ol` Borrower’s covenants and agreements under this Security Instrument and the Note, For this purpose, Barrower,
in consideration of the debt, does hereby mortgager grant and convey to Lender the following described property
located in the COUNTY ofGULF`, State of` Florida:

Address: 280 Cary Whitfield Road, Wewahitchka, Florida 32465
I.egal Description: SEE EXHIBIT "A" ATTACHED HERETO AND INCORP()RATED

HERE|N BY REFERENCE TOGETHER WITI~I A POWER DOUBLEWIDE
MANUFACTURED HOME, VIN #'S CVOSAL0260419A&B AND ALL ADDITTONS AND
ACCESS|ONS THERETO

Parccl ID/Sidwell Num ber: 01749-000R

TOUETHER WITH all the improvements now or hereai’ter erected on the property, and all easements
appurtenances and fixtures now or hereafter a part oi` the property. AI| replacements and additions shall also be
covered by this Security lnstrument, All of the foregoing is referred to in this Security instrument as the
"l`-'roperty."

BORJ{OWER COVENANTS that Borrower is lawfully seised ofthe estate hereby conveyed and has the right to
mortgage grant and convey the Property and that the Property is unencumbered, except for encumbrances or
record tiorrower warrants and will defend generally the title to the Property against all claims and demands,
subject to an_v encumbrances oi`record.

B<)irower and Lender covenant and agree as foilows: ,~
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Payment of Principal and lnterest; Prepayment and Late Charges. Borrower shall promptly pay when due the
principal of` and interest on the debt evidenced by the Note and any prepayment and late charges due under the

Notc.

Applicab|e Law. As used in this Security Instrument, the term "Appiicab|e Law" shall mean all controlling
applicable t`ederaL state and local statutes, regulations, ordinances and administrative rules and orders (that have
the etl`ect of law) as well as all applicable final. non-appealable judicial opinions

Funds for Taxes and lnsurance. At Lender's request and subject to Applicable Law, Borrower shall pay to
Lender on the day periodic payments are due under the Note, until the Note is paid in fi.tll, a sum ("Funtls") for: (a)
yearly taxes and assessments which may attain priority over this Security |nstrument as a lien on the Property; (b)
yearly leasehold payments or ground rents on the Property, if any; {C) yearly hazard or property insurance
prcmiums; (d) yearly flood insurance premiums, if any; (e) yearly mortgage insurance premiums, if any; and (l)
any sums payable by Borrower to Lender, in accordance with the provisions of the paragraph titled Mortgage
lnsurance_ in lieu of the payment of` mortgage insurance premiums These items are called "Escrow ltems,"
lender may, at any timc, collect and hold Funds in an amount not to exceed the maximum amount a lender for a
federally related mortgage loan may require for Borrower's escrow account under the federal Real Estate
Settlement Procedures Act of 1974 as amended from time to time. 12 U.S.C. Section 260| et seq. ("RESPA"),
unless another Applicable Law that applies to the Funds sets a lesser amount. lf`so, Lender may, at any time,
collect and hold Funds in an amount not to exceed the lesser amount Lender may estimate the amount of Funds
due on the basis ol` current data and reasonable estimates oi` expenditures of` future Escrow ltems or otherwise in

accordance with Applicable Law.

'l`he Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
[including I.ender, if Lender is such an institution) or in any Federal Home Loan Bank. Lender shall apply the
l`-`unds to pay the Escrow ltcms. Lender may not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow ltems, unless Lender pays Borrower interest on the Funds
and Applicable t.aw permits Lender to make such a charge. However, Lender may require Borrower to pay a one-
timc charge l"or an independent real estate tax reporting service used by Lender in connection with this loan, unless
Applicable [.aw provides otherwise Unless an agreement is made or Applicable Law requires interest to be paid,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender may
agree in writing however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge,
an annual accounting of` the Funds, showing credits and debits to the Funds and the purpose l`or which each debit to
the Funds was made The Funds are pledged as additional security for all sums secured by this Security instrument

lf` the Funds held by Lender exceed the amounts permitted to be held by Applicable Law, Lender shall account to
Borrower for the excess Funds in accordance with the requirements of'Applicable Law. If` the amount of` the Funds
held by Lender at any time is not sufficient to pay the Escrovv Items when due. Lender may so notify Borrower in
writing, and, in such case Borrower shall pay to Lender the amount necessary to make up the deficiencyl Borrower
shall make up the deficiency in no more than twelve monthly payments. at Lender's sole discretion

l_-'pon payment in full of` all sums secured by this Security lnstrument, Lender shall promptly refund to Borrower
any Funds held by Lender. lf, under the section titled Act:eleration; Notice of De!`ault; Right to Cure. Lender
shall acquire or sell the Property_, Lender, prior to the acquisition or sale of the Property, shall apply any Funds
held by bender at the time ot` acquisition or sale as a credit against the sums secured by the Security lnstrnrnent.

Application of Payments. Un|ess Applicable Law provides otherwise, all payments received by Lender under
sections titled Payment of Principal and lnterest; prepayment and Late Charges and Funds for Taxes and
lnsurance shall be applied: first, to any prepayment charges due under the Note; second to amounts payable
under the section titled Funds for Taxes and lnsurance; third, to interest due; fourth, to principal due; and last, to
any late charges due under the Note.

Charges; Liens, Borrower shall pay all taxes assessments charges, fines and impositions attributable to the
Property which may attain priority over this Security Instrument. and leasehold payments or ground rents, il`any.
isorrower shall pay these obligations in the manner provided in section titled Funds for Taxes and lnsu rance, or

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if nol paid in that manner, Borrower shall pay them on time directly to the person owed payment At the request of
l.ender, Borrower shall promptly furnish to Lender receipts evidencing the payments

Bcrrower shall promptly discharge any lien which has priority over this Security instrument unless Borrower: (a)
agrees in writing to the payment ot` the obligation secured by the lien in a manner acceptable to l.ender; (b_}
contests in good faith the lien by, or defends against enforcement ofthe lien in, legal proceedings which in the
l.ender's opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of the lien an
agreement satisfactory to Lender subordinating the lien to this Security lnstrurnent. IfLender determines that any
part of the Property is subject to a lien which may attain priority over this Security Instrument, Lender may give
Borrovver a notice identifying the lien. Borrower shall satisfy the lien or take one or more of the actions set forth

above within 10 days of the giving of notice.

Hazard or Property insurance Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by tire, hazards included within the term "extended coverage" and any other hazards,
including tloods or floodingl for which Lender requires insurance This insurance shall be maintained in the
amounts and for the periods that Lender rcquires. The insurance carrier providing the insurance shall be chosen by
Borrower subject to Lender's approval which shall not be unreasonably withheld lf Borrower fails to maintain
coverage described above, Lender may, at Lender’s option, obtain coverage to protect Lender's rights in the
Property in accordance with section titled Protcction of Lender's Rights in the Property.

All insurance policies and renewals shall be acceptable to Lender and shall include a standard mortgage clause.
lender shall have the right to hold the policies and renewalsv ll' Lender requircs, Borrower shall promptly give to
Lender all receipts of paid premiums and renewal notices. ln the event oi` loss, Borrower shall give prompt notice
to the insurance carrier and Lender. Lender may make proof of loss if not made promptly by Bon'ower_

lhiless |.ender and Borrower otherwise agree in writing, insurance proceeds shall be applied to restoration or
repair of the Property damaged, it` the restoration or repair is economically feasible and Lender's security is not
lessened ll" the restoration or repair is not economically feasible or Lender's security would be lessened, the
insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
any excess paid to Borrower. lf Borrower abandons the Property, or does not answer within the number of days
prescribed by Applicable Law as set forth in a notice from Lender to Borrower that the insurance carrier has
offered to settle a claim, then Lender may collect the insurance proceeds Lender may use the proceeds to repair or
restore the Property or to pay sums secured by this Security instrument, whether or not then due. The period of
time i`or Borrower to answer as set forth in the notice will begin when the notice is given.

llnless Lender and Borrower otherwise agree in writing, any application of proceeds to principal shall not extend
or postpone the due date of the payments referred to in the sections titled Payment of Principal and lnterest;
Prepayment and Late Charges and Funds for Taxes and insurance or change the amount of the payments lf
under the section titled Acceleration; Remedies the Property is acquired by Lender, Borrower's right to any
insurance policies and proceeds resulting l"rorn damage to the Property prior to the acquisition shall pass to Lender
to the extent ol`the sums secured by this Security instrument immediately prior to the acquisition

Preservation, Maintenancc and Protection of the Property; Borrower's Loan Application; Leaseholds.
Borrower shall not destroy, damage or impair the Property, allow the Property to deteriorate, or commit waste on
the Property Borrower shall be irt default if any forfeiture action or proceeding whether civil or criminal, is begun
that in Lendcr's good faith judgment could result in forfeiture of the Property or otherwise materially impair the
lien created by this Security Instrument or l,ender's security interest Borrower may cure such a default and
reinstate as provided in section titled Borrower's Right to Reinstate, by causing the action or proceeding to be
dismissed with a ruling that, in l,ender's good faith deterrnination, precludes forfeiture ofthe Borrower's interest in
the Property or other material impairment ol` the lien created by this Security instrument or Lender's security
interest l`Sorrower shall also be in default il`Borrower, during the loan application process, gave materially false or
inaccurate information or statements to Lender (or failed to provide Lender with any material inforniation) in
connection with the loan evidenced by the Note. Il` this Security lnstrumcnt is on a leasehold, Borrovver shall

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comply with all the provisions of the lease lFBorrowcr acquires fee title to the Property, the leasehold and the fee
title shall not merge unless Lender agrees to the merger in writing

Protcctien of Lender's Rights in the Property. li` Borrower fails to perform the covenants and agreements
contained in this Security Instrument, or there is a legal proceeding that may significantly affect Lender's rights in
the Property (such as a proceeding in bankruptcy, probate, for condemnation or tort`eiture or to enforce laws or
rcgulationsl. then Lender may do and pay l`or whatever is necessary to protect the value of the Property and
l_,ender's rights in the Property. Lender‘s actions may include paying any sums secured by a lien which has priority
over this Security lnstrurnent, appearing in court, paying reasonable attomeys' fees and entering on the Property to
make repairs Although Lender may take action under this section, Lender does not have to do so.

amy amounts disbursed by Lender under this section shall become additional debt of Borrower secured by this
Security instrument Unless Borrower and Lender agree to other terms of payment, these amounts shall bear
interest from the date oi`disbursemenr at the Note rate and shall be payable, with interest, upon notice from Lender
to Borrower requesting payment

Mortgage Insurance. lf Lender required mortgage insurance as a condition of making the loan secured by this
Security Instrument, Borrower shall pay the premiums required to maintain the mortgage insurance in effect lf`, t`or
any reason, the mortgage insurance coverage required by Lender lapses or ceases to be in effect, Borrower shall
pay the premiums required to obtain coverage substantially equivalent to the mortgage insurance previously in
cl'l`ect. at a cost substantially equivalent to the cost to Borrower of the mortgage insurance previously in effect,
f"r<)m an alternate mortgage insurer approved by Lender. ll`substantialiy equivalent mortgage insurance coverage is
not available Borrower shall pay to Lender each month a sum equal to one-twellth of the yearly mortgage
insurance premium being paid by Borrower when the insurance coverage lapsed or ceased to be in effect Lender
will accept, use and retain these payments as a loss reserve in lieu of mortgage insurance Loss reserve payments
may no longer be required, at the option of l.ender, ii` mortgage insurance coverage (in the amount and ior the
period that Lender requires) provided by an insurer approved by Lender again becomes available and is obtained
Borrower shall pay the premiums required to maintain mortgage insurance in effect, or to provide a loss reserve,
until thc requirement for mortgage insurance ends in accordance with any written agreement between Borrower
and Lender or App|icable l.aw.

lnspection. Lender or its agent may make reasonable entries upon and inspections of the Property. Lender shall
give Borrower notice at the time of or prior to an inspection specifying reasonable cause for the inspection

Condemnation. The proceeds ofany award or claim for damages, direct or consequential, in connection with any
condemnation or other taking of any part of the Property, or for conveyance in lieu of condemnation, are hereby

assigned and shall be paid to Lender.

in the event ol' a total taking ol`the Property. the proceeds shall be applied to the sums secured by this Security
lnslrument. whether or not then due, with any excess paid to Borrower. In the event of a partial taking of the
Property in which the t`air market value ofthe Property immediately before the taking is equal to or greater than
thc amount ol` the sums secured by this Security instrument shall be reduced by the amount oi` the proceeds
multiplied by the following fraction: (a) the total amount ol` thc sums secured immediately before the taking,
divided by t`b) the fair market value oi` the Property immediately before the taking. Any balance shall be paid to
Borrower. ln the event of a partial taking of the Property in which the fair market value of the Property
immediately bct`ore the taking is less than the amount of the sums secured immediately before the taking, unless
Borrowcr and Lender otherwise agree in writing or unless Applicable L,aw otherwise provides, the proceeds shall
bc applied to the sums secured by this Security instrument whether or not the sums are then due.

!i"thc Property is abandoned by Borrower. or ii'. alter notice by Lender to Borrower that the condemnor offers to
make an award or settle a claim for damages, liorrower l`ails to respond to Lender within the minimum number ol`
days established by Applicable Law after the date the notice is given, Lender is authorized to collect and apply the
proceeds, at its option, either to restoration or repair of the Property or to the sums secured by this Security
lnstrument, whether or not then due.

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Llnless Lender and Borrower otherwise agree in writing, any application of proceeds to principal shall not extend
or postpone the due date of the payments referred to in sections titled Payment of Principa| and fnterest;
Prepayment and Late Charges and Funds for Taxes and Insurance or change the amount of such paymentsl

Borrower Not Reieased; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to any successor in
interest ot` Borrower shall not operate to release the liability ofthe original Borrower or Borrower's successors in
interest Lender shall not be required to commence proceedings against any successor in interest or refuse to
extend time for payment or otherwise modify amortization of the sums secured by this Security lnstrument by
reason of any demand made by the original Borrower or Borrower's successors in interest Any forbearance by
Lender in exercising any right or remedy shall not be a waiver ol"or preclude the exercise ofany right or remedy

Successors and Assigns Bound; Joint and Several Liability; Aceomodation Signers. The covenants and
agreements ol` this Security Instrument shall bind and benefit the successors and assigns of Lender and Borrower,
subject to the provisions of section titled Transfer of the Property or a Benet'icial lnterest in Borrower.
Borrower's covenants and agreements shall be joint and several Any Borrower who co-signs this Security
instrument but does not execute the Note ("Accomodation Signer"}: (a) is cci-signing this Security instrument only
to mortgage, grant and convey that Accornodation Signer‘s interest in the Property under the terms oftl‘te Security
Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that
Lender and any other Borrower may agree to extend, modii`y. forbear or make any accommodations with regard to
the terms of`this Security instrument or the Note without that Accornodation Signer's consent

Loan Charges. lf the loan secured by this Security lnstrurncnt is subject to a law which sets maximum loan
charges, and that law is finally interpreted so that the interest or other loan charges collected or to be collected in
connection with the loan exceed the permitted limits, then: (a) any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limits and (b) any sums already collected from Borrower
which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by
reducing the principal owed under the Note or by making a direct payment to Borrower If a refund reduces
principal, the reduction will be treated as a partial prepayment without any prepayment charge under the Note.

Notices. Any notice to Borrower provided l`or in this Security lnstrument shall be given by delivering it or by
mailing it by first class mail unless Applicable Law requires use ofanother method. The notice shall be directed to
the Property Address or any other address Borrower designates by notice to Lender. Any notice to Lender shall be
given by first class mail to Lender‘s address stated herein or any other address Lender designates by notice to
Borrower. Any notice provided for in this Security lnstrument shall be deemed to have been given to Borrower or

Lender when given as provided in this paragraph

Governing Law; Severability. This Security instrument shall be governed by federal law and the laws ofthe state
of Florida. in the event that any provision or clause of this Security Instrument or the Note conflicts with
Applicabie isaw, such conflict shall not affect other provisions ofthis Security lnstrument or the Note which can be
given effect without the conflicting provision To this end the provisions of this Security Instrument and the Note

are declared to be severable
Borrower's Copy. Borrower shall be given one conformed copy of this Security lnstrument.

Transfer of the Property or a Benet'reial Interest in Borrower. If all or any part ofthe Property or any interest
in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a
natural person) unless the Note shows that Borrower's loan is assumable, Lender may, at its option, require
immediate payment in full of ali sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if exercise is prohibited by federal law as of the date of this Security instrument if the Note
shows that Borrower's loan is assumable, Borrower must obtain Lender‘s written permission for an assumption and
t`oilow any other requirements of Lender related to an assumptionl If Borrower does not do so, Lender may require
immediate payment in full of ali sums secured by this Security instrument

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lt' Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide a
period ot`not less than the minimum number of days established by Applicable Law from the date the notice is
delivered or mailed within which Borrower must pay all sums secured by this Security lnstrument. If` Borrower
fails to pay these sums prior to the expiration ol` this period, Lender may invoke any remedies permitted by this
Security instrument without further notice or demand on Borrower.

Borrower's Right to Reinstate. if Borrower meets certain conditions, Borrower shall have the right to have
enforcement of this Security instrument discontinued at any time prior to the earlier ol'”: (a) 5 days (or such other
period as Applicable Law may specify for reinstatement) before sale of the Property pursuant to any power of sale
contained in this Security lnstrument; or (b) entry of a judgment enforcing this Security Instrument. `l`hose
conditions are that Borrower: {a) pays Lender all sums which then would be due under this Security instrument
and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c)
pays all expenses incurred in enforcing this Security Instrurnent, including but not limited to‘ reasonable attorneys'
fees to the extent permitted by law; and (d) takes such action as Lender may reasonably require to assure that the
lien of this Security lnstrument, Lender's rights in the Property and Borrower's obligation to pay the sums secured
by this Security Instrument shall continue unchanged Upon reinstatement by Borrower, this Security instrument
and the obligations secured hereby shall remain fully effective as if no acceleration had occurred l-lowever, this
right to reinstate shall not apply in the case of acceleration under the section titled Transfer of the Property or a

Benel"tcial interest in Borrower.

Sa|e of Note; Change of Loan Servieer. ‘l`he Note or a partial interest in the Note (together with this Security
lnstrument) may be sold one or more times without prior notice to Borrower. A sale may result in a change in the
entity (known as the "Loan Servicer") that collects periodic payments due under the Note and this Security
instrument Tltere also may be one or more changes of the Loan Servicer unrelated to a sale of the Notc. if there is
a change of the Loan Servicer, Borrower will be given written notice of the change in accordance with the section
titled Noticcs and Applicab|e Law. The notice will state the name and address of the new Loan Servicer and the
address to which payments should be made. The notice will also contain any other information required by
.»'\pplicable Law.

Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release ofany
l-ln'.».ardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to do, anything affecting
the Property that is in violation of any Environmental Law. The preceding two sentences shall not apply to the
presence, use, or storage on the Property of small quantities of I-iazardous Substances that are generally recognized
to be appropriate to normal residential uses and to maintenance of the Property.

Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or other action by
any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
invironmental Law of which Borrower has actual knowledge lf Borrower learns, or is notified by any
governmental or regulatory authority, that any removal or other remediation of any Hazardous Substancc affecting
the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance with

i-Invironmental l.aw_

As used in this paragraph, "Hazardous Substances" are those substances defined as toxic or hazardous substances
by Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic petroleum
products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or fonna|dehyde, and
radioactive materials As used in this paragraph, "Environmental Law" means federal laws and laws of the state of
Florida that relate to health, safety or environmental protectionl

Aeccleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under the
section titled Transfer of the Property or a Beneficial lnterest in Borrower, unless Applicable haw provides
otherwise). The notice shall specify: (a) the default; (b) the action required to cure the defan|t; (c) a date,
not less than the minimum number of days established by Applicable Lavv from the date the notice is given
to Borrower, by which the default must be cured; and [d) that failure to cure the default on or before the

date specified in the notice may result in acceleration of the sums secured by this Security Instrument,

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foreclosure by judicial proceeding and sale of the Property, The notice shall further inform Borrower ol`
the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the non-
existence of a default or any other defense of Borrower to acceleration and foreclosure If the default is not
cured on or before the date specified in the notice, Lender at its option may require immediate payment in
full of all sums secured by this Security lnstrument without further demand and may foreclose this
Security instrument by judicial proceeding To the extent permitted by law, Lender shall be entitled to
collect all expenses incurred in pursuing the remedies provided in this Section, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence.

Release. Uan payment of all sums secured by this Security Instrument, Lender shall release this Security
lnstrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this
Security lnstrurrient, but only ifthe fee is paid to a third party for services rendered and the charging ofthe fee is
permitted under Applicable Law.

Atlorneys' Fees. As used in this Security instrument and the Note, attorneys' fees shall include those awarded by
an appellate court and any attorneys' t`ees incurred in a bankruptcy proceeding

Oral Agreements Disclaimer. This Security instrument represents the final agreement between the parties and
may not bc contradicted by evidence of prior, contemporaneous or subsequent oral agreements of the parties
`l`hc.re arc no unwritten oral agreements between the partiesl

Additional Provisions. All payments received by lender shall be applied: lirst, to interest due; second to

principal due; third; to amounts payable under the section titled Funds for Taxes and lnsurance; and
fourth to any pre-payment and late charges due under the Note. This provision shall control over the

section titled "Application of Payments".

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in all pages of this
Security instrument and in any Rider executed by Borrower and recorded with it.

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Kevin Chandler Martin Date
Signed,sea_led and delivered in the presence of': `
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lNDIVlDUAL ACKNOWLEDGMENT

S'|`ATE OF FLORIDA )
)
(`()UNTY Ol‘1 GULF' )

"l`he foregoing instrument was acknowledged before me this 30th day of March, 2007, by Kevin Chandler

Martin; who is personally known to me or who has produced necessary identification to onfirm his/her identity
|n witness whereol`, l hereunto set my hand and my official scm . MQ`
M_\. commission expires: O'$'&lr“ti'-.QQ::°) . ._ l

         
 

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'l`lllS lNSTRUMENT PREPARED BY: AFTER RECORDING RETURN TO:

Prosperity Bank Prosperity Bank W
P.O. Drawer 1690 PO Drawer 1690 /&50

St. Augustine, FL 32085

Saint Augustine, FL 32085

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GCL #070032

EXHIBIT “A”

Starting at the Northwest Corner of Hugh Lansden’s property, run westward on South side of I-lighway 221
')'21 feet', then turn Southwestward 908 feet to POFNT OF BEGTNNING_ Begin and run in Southwest
direction l205 feet to halfsection line of Section 17, Township 4 South, Range 10 West; then run eastward
along said half section line 865 feet to Hugh Lansden’s Southeast Corner; then ru.n in a North direction
along the line of Hugh Lansden’s property 1070 feet; then turn West and run 538 feet back to the POINT
OF BEGTN'NI`NG, This property is located on Section 17, Township 4 South, Range 10 West, Gult`County,
Florida_

Also, that part of the following described lands not included in the above described n'a<:t:

Beginning at the Northwest Comer of Gordon C. Martin’s property and run in a Southwestward direction
along Gordon C. Martin’s West line to half Section line of Section 17, Township 4 South, Range 10 West,
1205 t`eet; thence run Westward along halfSection line to CCC Road No. 8 for 209 feet; thence run in a
Northeast direction along the East side of CCC Road No. 8, 1208 feet; thence run in an Eastern direction
back to the POINT OF BEGI'NNING, 215 feet. Containing 6 acres, more or less. This land lies in Section
17. Townsln'p 4 South, Range 10 West, Gqu County, Florida.

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EXHIBIT

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Starting at the Northwest corner of Hugh Lansden's property, run westward on South side of
Highway 22, 721 feet; then turn Southwestvvard 908 feet to the Point of beginning; begin
and run in Southwest direction 1205 feet to 1/2 section line of Section 17, Township 4
South, Range 10 West; thence run Eastward along said 1/2 section line 865 feet to Hugh
Lansden's Southeast corner, then run North direction along the line of Hugh Lansden's
property 1070 feet; thence turn West and run 538 feet back to the Point of Beginning. This
property is located on Section 17, Township 4 South, Range 10 West, Gulf County, Florida.

AND ALSO

That part of the following described lands not included in the above described tract:
Beginning at the Northvvest corner of Gordon C. Martin's property and run in a
Southwestward direction along Gordon C. Martin's West line to 1/2 section line of Section
17, Township 4 South, Range 10 West, 1205 feet; thence run Westward along 1/2 section
line to CCC Road No. 8 for 209 feet; thence run in a Northeast direction along the East side
of CCC Road No. 8, 1208 Feet; thence run in an Eastern direction back to the Point of
Beginning 215 feet. This property is located on Section 17, Township 4 South, Range 10
West, Gulf County, Florida.

  

Case 18-50157-KKS Doc 24-1 Filed 07/19/18 Page 29 of 49 EXHIBH.

C()NSUMER SECURITY AGREEMENT Prosperity Bank
100 South Park

St. August'ine, Florida 32086
(800)347-9680

 

LOAN NUMBER AGREEMENT DATE

 

~7030 March 30, 2007

 

 

 

C(.)LLATERAL OWNER lNFORMATION

Kevin Chandler Martin
P() Box 328
Wewahitchka. FL 32465

AGREEMENT. l-`or purposes of this document_. the term "Agrcernent" is used when reference is made to this Consumer Security Agreement
l.l“.`,NDER. "1,cnder" means Prosperity Bank whose address is 100 South Perk1 St, Augustine. Florida 32086 . its successors and assigns.

DEBTOR. For purposes of` this Agreement, the term "Debtor" refers to any party who has an interest in the Collateral defined in the
"l)l-JSCR[PTION Ol" C()l.l,A'l`ER/\I." provision below. 'l`he Debtor includes each party (Borrower) identified above. Throughout this
'\`t:recment references to l)ebtor arc to be construed as specifically defined by Article 9 (or equivalent) of' the Unif`orrn Commercial Code.

OBLIGOR. l`~`or purposes of this Agreement, the term "Obligor" refers to any party, with respect to an obligation secured by a security interest
in the collateral that: (i) owes payment or other performance cf the obligation, or (ii) is otherwise accountable in whole or in part for payment
or other performance of`the obligation Throughout this Agreement references to Obligor are to be construed as specifically defined by Articlc 9

tjoi cqui\-'u|ent) of` the llnit`omi Commercial Code.

Sl~`lCURl'l`Y INTEREST CRANT. l)ebtor, in consideration of`the Obligations to I,ender, as defined in the "OBLIGATIONS" provision below,
hereby agrees to all o[` the terms of`this Agreement and specifically grants l.ender rights to, and a continuing security interest in, the Collateral
described in the paragraph(s) in the "DESCRIPTION OI~` COLLATERAI.»" provision below_, the proceeds of the Collateral, the proceeds of`
hazard insurance and eminent domain or condemnation awards involving the Collatcral, and all products ol`, accessions to, and interests in the
collateral that the Dchtor either has now or acquires in the future. I)ebtor‘s continuing security interest grant to the Lender secures the payment
ot any present and future obligations as that term is defined below.

()BL|CAT{ONS. As used in this Agreement, the term "Obligations" means all of Obligor`s or Debtor's responsibilities to" Lender. These
responsibilities arise under any and all agreements and documents evidencing the indebtedness related to this Agreement In addition, these
responsibilities continue in any future agreements for renewals. extensions or modifications including obligations that arise by operation of`law.

()i‘)ligations include all expenditures that Lender may make under the terms of this Agreement or for the benefit of Obligor and Debtor.
l`#fxpentlittircs may include among other things, interest, costs, and expenses and also includes, to the extent permitted by law_, attorneys' fees
paid by the f,cndcr or on behalf`of` the Lender to enforce the Obligations, or to protector liquidate the Collateral. Any costs that may arise alter
th:: filing ot` any petition by or against Obligor or Debtor, even il`they do not accrue because of` the automatic stay provision of` the Bankruptcy
Code. nrc also considered "Obligations."

DESCRIPTION Ol" COLLATERAL. The Collateral covered by this Agreement (the "Collateral") is all of the Debtor’s property described
hclow. 'I'he C`ol|ateral includes all of the described property that the chtor now owns_, or may acquire or create in the future and any after-
-_-rt'quircd consumer goods in which the Debtor acquires rights within 10 days of Lender giving value. The Collateral described below has the
meanings contained in the Unif`orm Commercial Codc as adopted in the state where the Lender is located

'l`itled _Vehicle. "'l`itled Vchiclc" consists of` any and all vehicle(s) described bclow, and all additions and accessions to the vehicle(s). and
any replacements and substitutions of the vehic|e(s), lt also includes all documents of` title related to the vehicle(s) identified below, as
well its all products rents and proceeds of` the identified vehicle(s).

l`l”l`l.l'- D \/'l';'lilCLE DESCRIPTI()N: 2003 Power Doublewide, VlN CV03AL0260419B

l\/lANl §l"At,"l`llRED liOUSlNG DI;`SCRIP'I`|ON: model Doub|ewide, manufactured by PoWer in 2003
l`hc properties land interest in property described in the paragraphs above are hereinafter individually and collectively referred to as the
"( ollalcr:il."

WARRANTlES. The chtor warrants the following: Debtor has or will acquire free and clear title to all of the Collateral, unless otherwise
provided in this Agreement all ol`the Collateral exists and is actual property olthe Debtor. and all of`the Collatcral has the value represented;
thc security interest granted to thc Lender is a first security interest unless the Lender specifically agrees otherwise; Debtor will defend the
tender against claims and demands ol` any person as to title to the Collateral and the priority of` Lender's security interest; Debtor will f`ully
cooperate with thc l,cndcr in placing and maintaining l.cndcr's lien or security interest on the Collateral, and specifically authorizes thc Lender
to file thc necessary financing statements to perfect the Lendcr's security interest in the Collateral; Debtor will not allow any lien or other
adverse claim or encumbrance ol`any kind against the C‘ollatcral; Debtor will immediately notify Lender of any existing or anticipated event that

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has or may adversely affect the value of the Collateral, the Debtor's assets, or ability to perform its Obligations_; Debtor will not change location
of any Collateral without l.endcr's prior written consent. and will allow the l.~erider to inspect the Collateral at Lender's reasonable request

lNSURANCE. chtor agrees to insure Collateral through a company of its choice, subject to Lender's reasonable approval. Lender will bc
named as loss payee or tit L.ender's request, as mortgagee 'l`he insurance will be comprehensive to the extent applicable The Debtor will
provide proof of insurance that is satisfactory to the Lender. All policies of insurance must provide that Lender will get a minimum of 10 days
:ioi`icc prior to cnncellatioii_ lt' the Debtor fails to obtain or maintain the required insurancc, the lender may do so at Debtor‘s expense

TAXES, LIENS, ETC. 'l`he chtor must pay all taxes and assessments on the Collatcral as they become due. lt` the Debtor fails to pay any
ta_\es or assessments the l,cndcr may choose to pay the taxes or assessn‘ientsl

IN FORMAT|ON AND REPORTING. Debtor agrees to supply Lender with financial and other information and reports about the Debtor` any
of [)eblor's assets the Collateral, or otherwise, as Lender may reasonably require from time to time.

CROSS-COLLATERAl.,lZAT[ON. Obligor and Debtor agree that any security interest provided in Collateral under this Agreement or any
and all other indebtedness of ()bligor or Debtor to Lender` whether or not such indebtedness is related by class or claim and whether or not
contemplated by thc parties at the time ol` executing each evidence of` indebtedness7 shall act as collateral for all said indebtedness This cross-
-;t)llatcralization provision shall not apply to any Co|lateral that is/are household goods or a principal dwelling

C`ROSS-DEFAUI.'|`. Any default of thc Obligor or Debtor in the terms oi` any indebtedness to Lender shall constitute a default under this
'\_i'.rcement.

DEFAULT; REMEDIES. `lhe Lender has the right to declare all ()bligations due and immediately payable if a default exists. lf any of the
following events occur this Agreement will bc in default: (a) failure to make required payments; (b) failure ot`the Obligor or Debtor to keep any
of its agreements with the l,cndcr; (c) making of any oral or written statement or assertion by the Ob|igor or Debtor to the Lender that is untrue
when made; (d) the death ol` any natural person who has legal duties related to this Agreement, or of` a partner of` any partnership with legal
duties related to this Agreement (e) any change or event that affects the Obligoi"s type ofbusiness organization; (f) any decline in the value of
the C`ollaleral (other than normal wear and tear, or depreciation); and (g) any impairment ofthe l.ender's rights under this Agreement

if` the l,ender in good faith believes the chtor is not able to meet its Obligations. or that any of the Collateral or the Lendcr's ability to resort to
ney C`ollatcral is or y\-ill soon be impaired. the Lender may. to the extent permitted by law, declare this Agreement to be in default

if ii default occurs, the Lender may exercise any of the remedies described in this Agreement or other documents or agreements between the
t,cndcr and the Obligor or Debtor. The Lender also has the right to exercise any remedies provided for in the Uniform Commercial Code of the
state where the Lender is located, and any other available legal or equitable remedies lfthe Lender waives a specific default by the Obligor or
l')cbtor. that waiver does not apply to any other dcfault.

FllTURE ADVAN(.TES. l~`uture advances may be made by Lender under this Agreement to the extent allowed by law. fn anticipation of future
advances by l.cnder` the ()bfigor or Debtor authorize Lender to file any necessary financing statements to protect I.ender's security interest

E.\'ERCISE OF LENDER'S RIGHTS. Any delay on the part of the Lender iri exercising any power, privilege. or right hereunder, or under
any other document executed by Obligor or Debtor to the Lender in connection herewith, shall not operate as a waiver thereof. and no single or
partial exercise thereof or any other powcr_. privilege or right shall preclude other or further exercise thereof`. 'l`he waiver by the Lender of any
default ol' the Ohligor or l)ebtor shall not constitute a waiver of subsequent default

CONTINU|NG AND UNCOND|TIONAL AGREEMENT. This Agreement is continuing and unconditional, and remains entirely effective
.~_mtil the Obligations are paid in i`ulL if the Lender enters into other agreements with the chtor, those agreements will not discharge this
-\prcemeiit. The liender's rights to the Col]atcral will not be altered if any of the Obligations against Obligor are determined to be invalid or
unenforceable 'I`Iiis Agreement is enforceable even if`thc Obligor may assert any counterclaim on the underlying debt. Any stay, modification
discharge or extension ol`the Obligor's Obligations that occur because ol` the Debtor’s insolvency, bankruptcy, or reorganization will have no
cf`!`cct on the enforceability ol' this Agreement

.\l()TICES. l_i'nless otherwise required by applicable law. any notice or demand given by the Lender to the Obligor or Debtor is considered
cftcctive when it is deposited in the United Stales Mail with the appropriate postage. mailed to the address ofthe Obligor or Debtor given at the
bcu.inning of this Agreement

ii .='\IVERS. chtor waives notice of` l,ender's acceptance of this Agreement defenses based on suretyship_. and to the fullest cxtent permitted by
low any defense arising as a result of any election by |,cnder under the Bankruptcy Code and the Uniform Commercial Code. Debtor and any
innltert endorser. guarantor. surcty._ third-party pledgor, and other party executing this Agreement that is liable in any capacity with respect to the
t)b|igations hereby naive demand, notice of`intention to accelerate, notice of acceleration, notice of` nonpayment presentment protest, notice of
.li--honor. and any other similar notice whatsoever.

l()lt\'T AND SEVERAL LlABlLI'l`Y. ff`pcrmitted by law; each Obligor or Debtor executing this Agreement is_iointly and severally bound.

Sl~'.VERABILITY. ll` a court of competent jurisdiction determines any term or provision of` this Agreement is invalid or prohibited by
applicable law that term or provision will be ineffective to the extent requiredl Any term or provision that has been determined to be invalid or
prohibited n ill bc sci ered from the rest of this Agreement without invalidating the remainder of` either the affected provision or this Agreement

SllRVlV,-'\L. 'l'he l.ender's rights in this Agreement will continue in its successors and assigns This Agreement is binding on all heirs,
r.\=._-ctitors_ administrators assigns and successors ofthe Obligor or Debtor.

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300-96818522 - Fax olo-956-leH

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'A.SS|GNABILITY. l`hc Lender may assign or otherwise transl`er this Agreement or any ol`Lender's rights under this Agreement Without notice
to the Obligor or Debtor. Any assignee ol` the Lender has the same rights as the l.ender. The Obligor or chtor may not assign this Agreement.
or any part oi` the Agreement without the express written consent oi` the l,ender.

.~\ UTHORIZAT!ONS. The Debtor authorizes the Lender to take whatever reasonable acts are necessary to protect the Collateral and the

l,ender‘s security interest in the Collateral including, without limitation, liling any financing statements necessary for Lender to perfect or
protect Lender's security interest The Debtor also authorizes the Lender to take any reasonable steps necessary to protect the Lender's right to

repayment ol` any underlying or related indebtedness ofthe Obligor or Debtor.

RICIMBURSEMENT. 'l`he leigor or Debtor will reimburse the Lender I`or all reasonable expenses incurred by the Lender in protecting or
exercising any of the l.endcr's rights related to the Obligations. Collateral. or otherwise Reimburscmcnt may be on demand. or, to thc extent
permitted by law. will become part of the Obligations.

'l`P]RiVllNATION. The lender is under no obligation to provide a termination statement related to this Agreement for Collateral other than
consumer goods, except upon receipt ot` an authenticated demand l`rom the Debtor.

Gt)VERNlNG LAW. This Agreement has been delivered in the state of Florida and shall be construed in accordance with the laws ot` that
Sltllt‘.

HEAD|NGS AND GENDER. The headings preceding text in this Agreement are for general convenience in identifying subject matter, but
hate no limiting impact on the text which follows any particular heading Ail words used in this Agreement shall be construed to be ot` such
gender or number as the circumstances require.

NllSCELLANEOUS. 'l`ime is of the essence ot`this Agreement Unless otherwise stated in this Agreement, all the terms in this Agreement have

the meanings provided by the Unif`orm Commercial Code as it has been adopted in the state of Florida. Resolution ol` any ambiguities between
the terms ol` this Agreement and any other loan agreement executed by the Obligor or Debtor in combination with this Agreement will be

resolved using the terms olthe loan agreement

ORAL AG REEMENTS DISC[..AIMER. 'I`his Agreement represents the tinal agreement between the parties and may not be contradicted by
e\ ldcncc ot'prior. contemporaneous or subsequent oral agreements of the parties There are no unwritten oral agreements between the parties

A('_TKNOWLEDGMENT. Debtor acknowledges agreeing to all oi` the provisions in this Agreement, and lilrther acknowledges receipt ot`a true
and complete copy ot`this Agreement

ll\ WITNESS WHEREOF, Debtor has executed this Agreement on the date and year shown below.

….~»~ ocean/estelle

Kevin Chandler Martin Date

www cump|ianceayn=ms corn

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800-968-3522 4 Fax 6 t6-956-|lihll

Consumer Security Agreement l)| .Ztlt)‘) Page 3 ol'3

  

 

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CONSUMER REAL ESTATE SECURED Prosperity Bank
BALLOON NOTE 2606 South Highway 77
Lynn Haven, Florida 32444

(800)347-9630

 

 

LOANNUMBER " ,.FM'»\;;,T-.Unt_ ij: ratnctr ixat€i`l?£`
-7031) November 30, 2012 $139,130.95

 

 

 

 

 

tober 25, 2011 4.250%"

 

 

 

- LOAN PURPOSE: Modification

 

BORROWER INFORMATION

Kevin Chandler Martin
P.o. .Box 328 1
Wewahitcltka, FL 32465

l
NOTE. This Consumer Real Estate Secured Balloon Note will be referred to in this document as the "Note" or as the "Agreement.`"
LENDER. "Lender," "you," or "your" means Prosperity Bank, its successors and assigns, whose address is.2606 South Highwa!y 77, Lynn
Haven, Florida 324\1¢.

BCIRRDWER. "Bor.rower," "l." "me," "my," or "mine" means each person who signs this Note.

PROMISE TO PAY. 1 promise to pay, according to the terms below, on or before the Maturity Date, the principal amount of On'e Hundrcd
Thirty-nine Thousand One Hundred Thirty and 95/100 Dollars ($139,130.95) and all interest and any other charges, including service
chorges, to the order of Lender at its office at the address noted above or at such other place as Lender may designate in writing. l~\vi_ll make all
payments under this Note in the form of cash, check or money order in lawful United States Dollars. 1 understand that Lender may transfer this
Note. The Lcnder, or anyone who takes this Note'by transfer and who is entitled to receive payments under this Note, is called the "Note

Holder." t

THIS 15 n B.-\LLOON NOTE. l understand that l must repay the entire unpaid balance of the loan including any permitted protective
advances charges and fees, together with interest then due. on the Maturity Date. You are under no obligation to refinance tht.» l'~lote at that
time. l willl therefore, be required to make payment out of other assets lhat'l mayr own, orI will have to l'rnd a lender_ which may bf. you, willing
lo lend me moncy, [f| refinance this loan at maturiry. l may have to pay some or all ofthe closing costs normally associated with a new loan
even il`l obtain refinancing from you, l

PAYMENT SCHEDULE. This loan will be paid according to the following schedule: 12 consecutive payments of principal and l..'etr:st in the
amount of $689.26 beginning on November 30. 2011 and continuing on the same day of each month thereafter. One final payment of
$137,326.84 shall be due on November 30, 2012. All payments received by the Lender from the Borrower for application to the Loan may be
applied to the Borrower's obligations under the Loan in such order as determined by the Lender.

PAYMENTS. My payments are to be made according to the payment schedule shown on this Note in lawful United States dollars mill l have
paid all ofthe principal and interest and any other charges thatl may owe under this Note. l will make my payments at your addrc\s as shown
on this Note or at a different place ifrequired by you. You may accept late or partial payments as well as payments marked "pny'mert in full"_ or
with other restrictive endorsements without losing any of'your rights under this Notc and without affecting the unpaid balance cl my loan as
reflected on your records. You may apply my payments to amounts owing in whatever order you choose unless a specific order is required by

law. l
lNTEREST RATE AND SCHEDULED PAYlVlENT' CHANGES. The interest rate on this Note will be fixed at 4.250% per annum.
Nothing contained herein shall be construed as to require the Borrower to pay interest at a greater rate than the maximum allowed byi law.

lntercst on this Note is calculated on a 365/3 60 day basis. The unpaid balance of this loan after Maturity, whether by acceleration or otherwise,
shall be subject to a post-maturity rate of interest equal to 18.000% per arin_um. .

 

SECURITY TO NOTE. Security (the "Collateral") for this Note is granted pursuant to the following security document(s):

c Security Instrument (Mortgage/Deed of Trust/Security Deed) in the amount of $]___§1 ,291.1ltddated 3/30/07 »' evidencing a
lien on the property lo_qated at 280 Cary Whitlield Road Wewahitchka FL 32465.
¢ Security Agreement dated 3/30/07 .» evidencing security lntercst in 2003 Power Doublewide - 10#1D#CV03AL0260419
A&B.
The real property that is the subject of the Security Instrument shall be called "Property" in this Note. The Security Instrument-protects you from
possible losses which might result if'I do not keep my promises under this Note, and describes how and under what conditions l may be required
to make immediate payment in full ofall amounts lowe under this Note.
l promise to pay any taxes or assessments on the Property as they come due. lfl fail lo pay lhem, you may pay them at your opt '~'~ to protect
your interest and I agree to pay you for your expense lf'l fail to pay you, and if permitted by law, you may add the protective advance to the
balance owing under this Note. l

0 2004-lula Cumpllam:c Syxlcml, lllL' 16|5~61]4 - 1010.06.263 l
Consumer Real Estate Secured B\llmn Note ~ DLan4 Page l uI'J M- www co»np_|iancesystemxcum

  
 
 
 
 
   

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LATE PAYMENT CHARGE. lf any required payment is more than 10 days late, then at Lender‘s option, Lender will assess a la'te payment
charge of 5% of the amount past due.

PREPAYMENT FENA`LTY. This Note may be prepaid, in full or in part, at any time, without penalty.

HAZARD OR PROPERTY INSURANCE. l will insure the Property through a company of my choice subject to your reasonable approval. as
set forth in the Security Instrument. I will insure the Coll_ateral through'a company of my choice subject to your reasonable approval. You will
be named as loss payee or, at your request mortgagee, for your protection This insurance will protect the Col|ateral against loss by thelt, fire
and collision, perils within the term "comprehensive" to the extent applicable, and as otherwise required by you. lt Will also provide all risks
l-lu|l insurance as to any Collateral which is an aircraft or boat and related accessories when applicable l will deliver satisfactory evidence of
such insurance to you.

lt`l fail to insure the Collateral, you may do so at your option to protect your interest, and you may include any other coverage you feel
appropriate, and l agree to pay you for any premiums. lfl fail to pay you, and 1f permitted by law, you may add the protective ad llance to the
balance owing under this Note. You may increase thc amount of my regular payment in order to amortize thel added insurance prem.ums by the
time my tinal payment is due or, alternativc|y, [ will end up having a larger final payment

 

MATURITY DATE. Th_e unpaid balance owed under this Note ls due and payable on November 30, 2012 ("Maturity Date") regardless of any
other provision of this Note or other related document ll

RETURNED CHECK FEE. Checks or drafts in payment of amounts owing hereunder which are returned to Lender unpaid are' subject to a
returned check fee equal to: (a) the actual amount Lender is charged' by the institution returning the check drah, or ordcr; or (b) $35. 00; or (c)
such other amount as shall be allowed by applicable law from lime lo tlmc', whichever' 15 the greatest; providc<l. howcvcr. the an'|'.ount of the
returned check fcc will nor exceed thc maximum amount allowed by applicable lanl from time to timc. At Lender discretion, and after any
notice required by applicable law Lender may acid such fcc to the balance owing under this Notc.

DEFAUL.T. | will bc iri default and you may, to the extent permitted by law, declare the entire unpaid balance oflhls loan immediatply due and
payable il': (a) ldo not keep any promise or perform nny obligation under this Note or any other connect or note thetl may have with you', or (b)
l give you false or misleading information in order to oblain, or while l owe on this loan; or (c) l should die or become involved in any
bankruptcy, receivership, insolvency, or custodial proceedings brought by or against me; or (d) l should have ajudgment or tax lien filed against
me or any attachment or garnishment should be issued against any of my property or rights, specifically including anyone starting an action or
proceeding to seize any funds that l may have on deposit with you', and/or (e) youl in good faith, reasonably believe my ability to repay the
indebtedness owed under this loan, any Collateral, or your ability to resort to any Collateral, is or soon will be impaired, time beingi- of the very
essence ;

If permitted by law, l waive any otherwise required notice of: presentment; dcmand; acceleration; and intent to accelerate. l

lf l am in default, to the extent permitted by law, without any prior notice or demand unless required by law, l will have to pay the entire unpaid
balance of this loan and you may invoke any other remedies permitted by applicable law or, at your option, l agree to give you the Collateral, if
any. It' l do not give you the Collateral, then to the extent permitted by law, you may enter the premises where the Ca|lateral 1s located and take
possession of it. You may assert the defense of a superior right of possession as the holder oEa security interest to any allegali_ 11 by me of
wrongful taking and conversion. lfpermittcd by law, l waive any right l might otherwise have to a hearing prior to a court issuing a 1ep|evin
order' 1n relation to the Collateral

To the extent permitted by law, l agree to pay all reasonable agent or attorney fees incurred by you in collecting the debt evidenced by this Note
or in the taking of the Collateral.
ln the event of default, suit, and judgment against me, you have the right to attach or garnish wages, l expressly waive any limi.ation to die
contrary unless the law prohibits such waiver.
`.You may sell or dispose of the Property and/or Collateral, in any manner permitted by law. Aftcr appropriate application of the proceeds of any
sale, l will be liable to pay any resulting deficiency on my loan to you, to the extent permitted by law. ln taking possession ofthe Co lateral you
may come into possession ofcertain of my personal property, ln that event, you may hold such property for whatever period of tim'c you leel' 1s
reasonable ll` l do not claim my property during such hold pcriod, you may dispose of it without any liability to me l

LlABlLITY OF PARTIES; JOINT AND SEVERAL LIABILIT¥. Evcry person signing this Note as a Borrower understand|s and agrees
that they are jointly and individually obligated to pay all amounts owed according to the terms and conditions ot' this Note. 1

 

NOT|CE OF DEFAULT. lfl am in defau|t, the Lender may send me a written notice, consistent with applicable law, if any, telling me that ifl
do not pay the overdue amount' by a certain date, the Lender may require me to pay immediately the then unpaid balance in full-.

SET Ol"F. To the extent permitted by law, | give you the right to setoffany ol`.my money or property which may bc' 1n your possession against
any amount owing under this Note_ This right of setoff does not extend to any |R.tlt Keogh accounts or similar tax dcl`cr\ed deposit dccounts that
l may have with you. l

OTHER PROMlSES. Reference is made to any related mortgage, trust deed, security deed, assignment, security agreement, pled'ge or similar
document for other promises which l make to you and for terms and conditions governing my loan, which promises, terms and conditions are

made a part ofthis Note as ifset forth herein.

FORBEARANCE. You do not lose your rights under this Note ifyou delay enforcing them. No failure or delay on the part of Lender, and no
course of dealing between Borrower and Lender, shall operate as a waiver ofsuch power or right, nor shall any single or partial exercise ol' any
power or right preclude other or further exercise thereof or the exercise of any other power or right _
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ease 13-50157-KKS Doc 221-1 Filed 07/19/13 Page 34 of 49‘_

GIVING OF NOTICES. Notice(s) must be given to me by delivering it or by mailing it by first class mail to me at the Property Adt ross above

or at a different address ifI give the Lender a notice of my different address, unless applicable law requires a different method.
Notice(s) that must be given to the Lender will be given by mailing it by flrst nies mail lo lhe Lender at the address referred to ab
different address if l am given a notice of that different address by the Lender,

0\¢¢ of al il

ASSlGNABlLlTY. You may assign any of your rights under this Note without my consent l rnuy.not assing my obligetions.'

SEVERABlLlTY. lf any provision of this Note is determined to be unenforceable or invalid by a court of competent jurisdictie]n, all other

provisions shall remain in full force and effect.
HEADING_S. The headings preceding text in this Note are for my general convenience in identifying subject matter, but have no limiting
impact on die text which follows any of the particular heading.

GOVERNlNG LAW. l understand and agree that this Note Wi_ll be governed by the laws of the State of Florida except to the extent
law controls. _

ATTORNEYS' FEES AND O'I`l~IER COSTS. if legal proceedings are instituted to enforce the terms of this Agreement, Borrower agrees to
pay all costs of the Lender in connection therewith, including reasonable attorneys' fees, to the extent permitted by iaw.

that federal

DOCUMEN.TARY STAMP TAX. The Florida Documentary Stamp 'l`ax, as required by law, has been paid.

ORAL AGREEMENTS DISCLAIMER. This Note represents the final agreement between the parties and may not be conl`adictcd by
evidence of prior, contemporaneous or subsequent oral agreements of the parties. 'I`here are no unwritten oral agreements between lh panies.

By signing this Note, each Borrbwer acknowledges reading, understanding and agreeing to all its provisions.

agr C¢fw[£~ Af§é /U'Q?-//

Kevin Chandler Martin Date

 

LENDER: Prosperity Bank

Date \G_a~[_n

 

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BALLOON PA¥MENT NOT|CE AND Prosperity Bank
ACKNOWLEDGMENT 2606 South Highway 77
- Lynn Haven, Florida 32444 j
(300)347_9680
LoAN NuMBt:R N`oTrcs t)A-Tn Maruit'l"rv'n"}nc _l
*'1'030 October 25, 2011 Novembcr 30, 2012

 

 

 

 

BORROWER |NFORMATION

Kevin Chandler Martin
P.O. Box 328
Wewahitchka, FL 32465

BORROWER. Borrower means each person who signs this Notice, and will be referred to as "I", "my or me .

LENDER. "Lender" means Prosperity Bank whose address is 2606 South Highway 77, Lynn Haven, Florida 32444 , it's successors and

assigns

l am hereby notified that my loan with Lender is a "bal|oon“ loan, which will result in my owing a large balloon payment that is payable in full
on November 30, 2012, the Maturity Date. This means that l must repay the entire paid balance of my |oan, including unpaid principa|, accrued
but unpaid interest, and other accrued and/or permitted charges, on the Maturity Date.

l acknowledge that Lender is not obligated to refinance my loan on the Maturity Date. l will, therefore, be required to make payment out of
other assets that l may own, or l will have to find a lender, which may be Lender, willing to lend me the money. |'

l

l understand that if Lender decides to refinance my loan at or before the Maturity Date, the rate of interest and the terms of any such refinancing
loan will be determined based on market conditions al that time. l also understand that l may have to pay some or all of the closing costs
normally associated with a new loan, even ifl obtain a refinancing loan from Lender.

l acknowledge that my loan with Lender ls secured by real property, as evidenced by a Mortgage, Deed ofTrust, Security Deed, or oiher similar
document ("Security lnstrument") given by me to Lender on October 25, 2011 the Transaetion Date l understand that ifI fail to abide by the
terms ofmy loan (as set forth 1n the Note, Security lnstrument, and any other agreements thatl may have with Lender), including my obligation
to make the balloon payment, that l may lose my rights to the real property.

By signing below, l nckn§wledgc reading, understanding and receiving a copy lofthis Balloon Payment Notice and Acknowledgment.

apa =

 

 

Kevin Ch miller Martin Date
/0»37-0 \MlM dillonme tol_'.';il\li
Date Name: Date

 

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800~96!-351'.’ ' Fart 6|6-956»|568

Balloon Faymem Notice and Acknowludgmem - DLZO|$ Page | ol'l

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EXHIBIT

COMMERCIAL PROMISSORY NOTE Prosperity Bank

2606 South Highway 77

Lynn Haven, Florida 32444

(800)347-9680

www.prosperitybank.com

L(SAN NUMBER |r n n n NOTl"i DATE PRINCIPAL AMOUNT LOAN T~ERM l MATUR'I='-I`Y DATE
*7030 April ll, 2013 $138,942.54 60 months § March 30, 2018

LOAN PURPOSE: Renewal '
BORROWER INFORMA'"ON
Kevin Chandler Martin
P.O. Box 328

Wewahitchka, FL 32465

NOTE. This Commercial Promissory Note will be referred to in this document as the "Note."
LENDER. "Lender" means Prosperity Bank whose address is 2606 South Highway 77, Lynn Haven, Florida 32444 , its successors and

assigns.

BORROWER "Borrower" means each person or legal entity Who signs this Note,

PROM]SE TO PAY. For value received, receipt of which is hereby acknowledged, on or before the Maturity Date, the Borrower promises to
pay the principal amount of One Hundred Thirty-eight Thousand Nine Hundred Forty-two and 54/100 Dollars ($138,942.54) and all interest
and any other charges, including service charges, to the order of Lender at its office at the address noted above or at such other place as Lender
may designate in writing The Borrower Will make all payments in lawful money of the United States of America.

PAYMENT SCHEDULE. This loan will be paid according to the following sehedule: 59 consecutive payments of principal and interest in the
amount of $701.05 beginning on April 30, 2013 and continuing on the same day of each month thereafter. One final balloon payment shall be
due on the Maturity Date in an amount equal to the then unpaid principal and accrued and unpaid interest. All payments received by the Lender
from me Borrower for application to the Loan may be applied to the Borrower's obligations under the Loan in such order as determined by the

Lender.

INTEREST RATE AND SCHEDULED PAYMENT CHANGES. The interest rate on this Note Will be fixed at 4.250% per annum,

Nothing contained herein shall be construed as to require the Borrower to pay interest at a greater rate than the maximum allowed by law. If.
however`, H'om any circumstances, Borrower pays interest at a greater rate than the maximum allowed by law, the obligation to be fulfilled will
be reduced to an amount computed at the highest rate of interest permissible under applicable law and if`, for any reason whatsoever, Lender ever
receives interest in an amount which would be deemed unlawful under applicable law, such interest shall be automatically applied to amounts
owed, in Lender's sole discretion, or as otherwise allowed by applicable law. interest on this Note is calculated on a Actual/360 clay basis. The
unpaid balance of this loan after Maturity7 whether by acceleration or otherwise, shall be subject to a post-maturity rate of interest equal to

18.000% per annum.

LATE PAYMENT CHARGE. If any required payment is more than 10 days late, then at Lender's option, Lender will assess a late payment
charge ofS% of the amount past due.

PREPAYMENT PENALTY. This Note may be prepaid, in full or in part., at any time, Without penalty.

SECURITY TO NOTE. Security (the "Collateral") for this Note is granted pursuant to the following security document(s):

Security lnstrument(Mortgage/Deed of Trust/Security Deed) - 280 Cary Whitiield Road Wewahitchka FL 32465 dated March

30, 2007.
o Security Agreement - 2003 Power Doublewide - lD#ID#CV03AL02604l9 A&B dated March 30, 2007.

RIGHT OF SET-OFF. To the extent permitted by law, Borrower agrees that lender has the right to set-off any amount due and payable under
this Note, whedter matured or unmatured, against any amount owing by Borrower to Lender including any or all of Borrower's accounts with
Lender. This shall include all accounts Borrower holds jointly with someone else and all accounts Borrower may open in the future Such right
of set-off may be exercised by Lender against Borrower or against any assignee for the benefit of creditors, receiver, or execution, judgment or
attachment creditor of` Borrower, or against anyone else claiming through or against Borrower or such assignee for the benefit of creditors,
receiver, or execution, judgment or attachment creditor, notwithstanding the fact that such right of set-off has not been exercised by Lender
prior to the making, filing or issuance or service upon Lender of, or of notice of, assignment for the benefit of creditors, appointment or
application for the appointment of a receiver, or issuance of execution, subpoena or order or warrant

DISHONORED lTEM FEE. If` Borrower makes a payment or1 the loan with a check or preauthorized charge Which is later dishonored, a fee in

the amount of$35.00 will be charged.
RELATED DOCUMENTS. The words "Related Documents" mean all promissory notes, security agreements mortgages, deeds of trust,
business loan agreements7 construction loan agreements, resolutions guaranties environmental agreements, subordination agreements,

© 2004-lull Comp|innce Systems, lnc. 3 |5B-C94C - 20| |Ll 3 396

Corrrrnercial Promissory Note - DlAUD(v www.complinncesyslems com

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assignments and any other documents or agreements executed in connection with this Note whether now or hereafter c>cisting. The Related
Documents are hereby made a part of this Note by reference thcrcto, with the same force and effect as if fully set forth hercin.

DEFAULT. Upon the occurrence of any one of the following events (each, an "Event of Default" or "default" or "event of default"), Lender's
obligations, if`any, to make any advances will, at Lender's option, immediately terminate and Lender, at its option, may declare all indebtedness
of Borrower to Lender under this Note immediately due and payable without further notice of any kind notwithstanding anything to the contrary
in this Note or any other agreement (a) Borrower's failure to make any payment on time or in the amount due; (b) any default by Borrower
under the terms of this Note or any other Related Documents executed in connection with this Note; (c) any default by Borrower under the terms
of any Related Documents in favor of Lender; (d) the death, dissolution, or termination of existence of Borrower or any guarantor; (e) Borrower
is not paying Bon'ower‘s debts as such debts become due; (f`] the commencement of any proceeding under bankruptcy or insolvency laws by or
against Borrower or any guarantor or the appointment of a rcceiver; (g} any defauit under the terms of any other indebtedness of Borrower to
any other creditor; (h] any writ of attachment, garnishment, execution, tax lien or similar instrument is issued against any collateral securing the
|oan, if any, or any of Borrower's property or any judgment is entered against Borrower or any guarantor; (i) any part of Borrower's business is
sold to or merged with any other business, individual, or entity; (j) any representation or warranty made by Borrower to Lender in any of the
Related Documents or any financial statement delivered to Lender proves to have been false in any material respect as of the time when made or
given; (k) if any guarantor, or any other party to any Related Documents in favor of Lender entered into or delivered in connection with this
Note terminatcs, attempts to terminate or defaults under any such Related Documents; (l) Lender has deemed itself insecure or there has been a
material adverse change of condition of the financial prospects of Borrower or any coiiateral securing the obligations owing to Lender by
Borrower. Upon the occurrence of an event of default, Lender may pursue any remedy available under any Related Documenl, at law or in
equity.

GENERAL WAlVERS. To the extent permitted by law, the Borrower severally waives any required notice of presentment, demand,
acceleration, intent to accelerate, protest and any other notice and defense due to extensions of time or other indulgence by Lender or to any
substitution or release of collateral. No failure or delay on the part of Lender, and no course of dealing between Borrower and Lender, shall
operate as a waiver of such power or right, nor shall any single or partial exercise of any power or right preclude other or timber exercise
thereof or the exercise of any other power or right.

JOINT AND SEVERAL LIABILITY. if permitted by law, each Borrower executing this Note is jointly and severally bound.
SEVERABILITY. If a court of competent jurisdiction determines any term or provision of` this Note is invalid or prohibited by applicable law,
that term or provision will be ineffective to the extent required. Any term or provision that has been determined to be invalid or prohibited will
be severed from die rest of this Note Without invalidating the remainder of` either the affected provision or this Note.

SURVIVAL. The rights and privileges of the bender hereunder shall inure to the benefits of its successors and assigns, and this Note shall be
binding on all heirs, executors, administrators, assigns and successors of Borrower,

ASSIGNABILITY. Lender may assign, pledge or otherwise transfer this Note or any of its rights and powers under this Note without notice,
with all or any of the obligations owing to Lender by Borrower, and in such event the assignee shall have the same rights as if originally named
herein in place of Lender. Borrower may not assign this Note or any benefit accruing to it hereunder without the express written consent of the
Lender,

ORAL AGREEMENTS DISCLAIMER. This Note represents the final agreement between the parties and may not be contradicted by
evidence of prior, contemporaneous or subsequent oral agreements of the parties. There are no unwritten oral agreements between the parties
GOVERNiNG LAW. This Note is governed by the laws of the state of Florida except to the extent that federal law controls.

HEADING AND GENDER. The headings preceding text in this Note are for general convenience in identifying subject matter, but have no
limiting impact on the text which follows any particular heading All words used in this Note shall be construed to be of such gender or number
as the circumstances require.

ATTORNEYS' FEES AND O'I'I~[ER COSTS. If legal proceedings are instituted to enforce the terms of this Note, Borrower agrees to pay all
costs of the Lender in connection therewith, including reasonable attomeys' fees, to the extent permitted by law.

WAIVER OF JURY TRlAL. All parties to this Note hereby knowingly and voluntarily waive, to the fullest extent permitted by law, any
right to trial by jury of any dispute, whether in contract, tort, or otherwise, arising out of, in connection with, related to, or incidental to
the relationship established between them in this Note or any other instrument, document or agreement executed or delivered in
connection with this Note or the related transactions

DOCUMENTARY STAMP TAX. The Florida Docurnentary Stamp 'l'ax, as required by law, has been paid.

By signi this Note, Borrower aeknowl dges reading, understanding, and agreeing to all its provisions and receipt hereof.

~r-,M %/ ;/é/r

Kevin Chandler Martin Date
lndividual|y

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EXH|B|T

BUSlNESS LOAN AGREEMENT Prosperity Bank
2606 South Highway 77

Lynn Haven, Florida 32444
(800)347-9680
Www.prosperitybank.com

NMLS Company Identif'rcr: 523240
NMLS Originator ldcntif'ler: 718487

AGREEMENT/ACCOUNF montana

 

AGR=EEMENT DATE
April 11, 2013 § -7030 |
BORROWER INFORMATION
Kevin Chandler Martin Type of Entity: Individual
P.O. Box 328 State of Residence: Florida
Wewahitchka, FL 32465

 

AGREEMENT. This Business Loan Agreement will he referred to in this document as the "Agreement." This Agreement is made by
Prosperity Bank (Lender) Kevin Chandler Martin (Borrower). The consideration is the promises, representations, and warranties made in this

Agreement and the Related Documents.

DEFINITIONS. 'l'hese definitions are used in this Agreement.
"Collateral" means the Property that all Obligors pledge, mortgage, or give Lender a security interest in, regardless of where the
Property is located and regardless of When it was or will be acquired, together with all replacements, substitutions, proceeds, and
products of the Property.
"Events of Default" means any of the events described in the "Events of Default" section of this Agreement.
"Financial Statements" means the balance sheets, earnings statements, and other financial information that Obligors have, are, or will
be giving to Lender,
"Indebtedness" means the Loan and all other loans and indebtedness of Borrower to Lender, including but not limited to Lender's
pa ents of insurance or taxes, all amounts Lender pa s to rotect its interest in the Collateral, overdrafts in deposit accounts with
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Lender, and all other indebtedness obligations and liabilities of Borrower to Lender, whether matured or unmatured, liquidated or
unliquidated, direct or indirect, absolute or contingent, joint or several, due or to become due, now existing or hereafter arising.
"Loan" means the loan or loans Lender makes to Borrower under the note or notes dated the same date as this Agreement that Borrower
gives to Lender and all amendments, extensions, renewals, and refinancing.
"Obligor" means any person having any obligation to Lender, whether for the payment of money or otherwise, under this Agreement or
under the Related Documents, including but not limited to Guarantor and any other guarantors of the lndebtedness.
"Parties" means all Borrowers, Guarantors, and Hypothecators signing this Agreement.
"Party" means any Borrower, Guarantor, or Hypothecator signing this Agreement
"Property" means the Parties' assets, regardless of what lcind of assets they are.
"Related Documents" means all documents, promissory notes, security agreements, leases, mortgages, construction loan agreements,
assignments of leases and rents, guaranties, pledges, and all other documents or agreements executed in connection with this Agreement
The term includes both documents existing at the time of execution of this Agreement and documents executed after the date of this
Agreement
IDENTIFICATION (__)F INDEBTEDNESS. The following loan and any arnendments, extensions, renewals or refinancing (the "Loans")
thereof are subject to this Agreement:

~ Loan Number 2000007030 with a principal amount of 3138,942.54

BORROWER'S REPRESENTATIONS AND WARRANTIES. Obligors represent and warrant to Lender the accuracy of the description of
Borrower, the nature of Borrower's business shown above, and the statements made in this section. The representations and warranties will
continue and remain in effect until all ofthe Indebtedness is fully paid to Lender and Obligors' obligations are lblly performed

Borrower's Existenee and Autho‘rity. Borrower is duly formed and in good standing under all laws governing Borrower and
Borrower's business, and the person: or persons executing this Agreement have the power and authority to execute this Agreement and
the Related Documents and to bind Borrower to the obligation created in this Agreement and the Related Documents.

Financial information and Filing. All Financial Statements provided to Lender have been prepared and will continue to be prepared in
accordance with generally accepted accounting principles, consistently applied, and fully and fairly present the financial condition of
Obligors, and there has been no material adverse change in Obligors' business, Property, or condition, either financial or otherwise, since
the date of Obligors' latest Financia| Statements. Obligors have filed all federal, state, and local tax returns and other reports and filings
required by law to be filed before the date of this Agreement and have paid all taxes, assessments, and other charges that are due and

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payable prior to the date of this Agreement Obligors have made reasonable provision for these types of payments that are accrued but
not yet payable. Borrower does not know of any deficiency or additional assessment not disclosed in Borrower's books and records.

Title and Eneumbrances. Obligors have good title to all of Obligors' assets, All encumbrances on any part of the Property were
disclosed to Lender in writing.

Compliance with General Law. Borrower is in compliance with and will conduct its business and use its assets in compliance with all
laws, regulations, ordinances, directives, and orders of any level of governmental authority that has jurisdiction over Borrower,

Borrower's business, or Borrower's assets.

Environmental Compliance. Obligors are in compliance with all applicable laws and rules of federal, state, and local authorities
affecting the environment, as all have been or are amended.

No Litigation/No Misrepresentations. 'lhere are no existing or pending suits or proceedings before any court1 government agency,

arbitration panel, administrative tribunal, or other body, or threatened against Borrower that may result in any material adverse change in
Borrower's business, property, or financial condition, and all representations and warranties in this Agreement and the Loan Documents

are true and correct and no material fact has been omitted.

Transf'er of Property. The Borrower shall not convey, encumber, lease or otherwise dispose of' Borrower's interest in the
Property without the consent of` the Mortgagee, nor shall Borrower assign or transfer any rights under this Agreement.
Secondary Financing. The Borrower may not obtain secondary development or permanent financing or incur any additional
debt without the Mortgagee‘s prior written eonsent.
Other Inf'ormation. Frorn the date hereof until the Indebtedness is fully repaid and all of Obligors' obligations are fully performed and
satisfied, the Parties cited below agree, unless otherwise consented to in writing by the Lender, they will submit the following:
Kevin Chandler Martin - Unaudited Personal Tax Retums within 90 days after the end of each filing due date (as such date may be
extended in accordance with properly granted extensions) each year.
EVENTS OF DEFAULT. The occurrence of any of the following events will be an Event of Def`ault.
Noncompliance with Lender Agreements. Default by Borrower under any provision of this Agreement, the Related Documents, or any
other agreement with Lender.
False Statements. If an Obligor made or makes a false or misleading misrepresentation in the Related Documents. in any supporting
material submitted to Lender or to third parties providing reports to Lender, or in Financial Statements given or to be given to Lender,

Material Adverse Change. Any material adverse change in the Borrower’s business, financial condition, or the Property has occurred or
is imminent; if the full performance of the obligations of any Obligor is materially impaired; or if the Collateral and its value or Lender‘s
rights With respect thereto are materially impaired in any Way. The existence or reasonable likelihood of litigation, governmental
proceeding, default, or other event that may materially and adversely affect an Obligor's business, financial condition, or the Property.
Insolveney or Liquidation. An Obligor voluntarily suspends transaction of its business or does not generally pay debts as they mature. lf`
an Obligor has or will make a general assignment for the benefit of creditors or will file, or have filed against it, any petition under
federal bankruptcy law or under any other state or federal law providing for the relief of debtors if the resulting proceeding is not
discharged within thirty days after filing. lf a receiver, trustee, or custodian is or will be appointed for an Obligor.

Def`ault on Unrelated Debt. lfBorrower materially defaults under a provision of an agreement with a third party or if the indebtedness
under such an agreement is accelerated.

Judgments or Attachments. If` there is entered against an Obligor ajudgment that materially affects the Borrower's business, financial
condition, or the Property, or if a tax lien, levy, writ of attachment, garnishrnent, execution, or similar item is or will be issued against the
Collateral or which materially affects Borrower's business, financial condition, or the Property, and which remains unpaid, unstayed on
appeal, undischarged, unbonded, or undismissed for thirty days after it was issued.

Collateral Impairment. Lender has a good-faith belief that Lender's rights in the Collateral are or will soon be impaired or that the
Collateral itself is or soon Will be impaired.

Termination of Existence or Change in Control. lf` Borrower or Borrower's business is sold or merged or if Borrower or Borrower's
business suspends business or ceases to exist.

Insecurity. If Lender has a good-faith belief that any Party is unable or will soon be unable to perform that Party's duties under this
Agreement or under the Related Documents.

Death. The death of an individual who is an Obligor, a partner in a partnership that is an Obligor. a member in a limited liability
company that is an Obligor, an officer of a corporation that is an Obligor, or an individual of similar position in any other type of

business organization that is an Obligor.

REMEDIES ON DEFAULT.
Remedies, No Waiver. The remedies provided for in this Agreement, the Related Documents, and by law are cumulative and not
exclusive. Lender reserves the right to exercise some, all, or none of its rights and reserves the right to exercise any right at any time that
Lender has the right, without regard to how much time has passed since the right arose. Lender may exercise its rights in its sole,
absolute discretion.

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Acceleration, Setof`f'. Upon an Event of Default, the Loan and the indebtedness may, at Lender's sole option, be declared immediately
due and payable. Lender may apply Obligors' bank accounts and any other property held by Lender against the Indebtedness.

CROSS-DEFAULT AND CROSS COLLATERALIZATION. The default of any Party under this Agreement, the Related Documents, or
under any other obligation to Lender is a default under this Agreement it is the intent of all Parties to cross collateralize all of its indebtedness
and obligations to Lender, howsoever arising and whensoever incurred, except any obligation existing or arising against the principal dwelling

of any Party.
ATI`ORN`EYS' FEES AND OTHER COSTS. if legal proceedings are instituted to enforce the terms of this Agreement, Borrower agrees to
pay all costs of the Lender in connection therewith, including reasonable attomeys' fees, to the extent permitted by laW.

EXPENSES. Obligors agree to pay all of Lender's reasonable expenses incidental to perfecting Lender's security interests and liens, all
insurance premiums, Uniform Commercial Code search fees, and all reasonable fees incurred by Lender for audits, inspection, and copying of
the Obligors' books and records. Obligors also agree to pay all reasonable costs and expenses of`Lender in connection with the enforcement of
Lender's rights and remedies under this Agreement, the Related Documents, and any other agreement between one or more Obligors and
Lender, and in connection with the preparation of all amendments, modifications, and waivers of consent with respect to this Agreement,

including reasonable attomeys' fees.

GOVERNiNG LAW/PARTIAL iLLEGALITY, This Agreement and the Related Documents are and will be governed by, and the rights of
the Parties will be determined by the laws of the state of Florida except to the extent that federal law controls. if any part, term, or provision of`
this Agreement is determined to be illegal or in conflict with state or federal law, the validity of` the remaining portion or provisions of this
Agreement will not be affected, unless the stricken portion or provision adversely affects Lender's risk of realizing Lender's anticipated retum,

in which case Lender may, in its sole discretion_. deem the Loan matured.
NOTICES. All notices required under this Agreement must be in writing and will be considered given: (i) on the day of personal dclivery, or
(ii) one business day after deposit with a nationally recognized ovemight courier service, or (iii) three business days after deposit with the

United States Postal Service sent certified mail, retum receipt requested. Any of these mediods may be used to give notice. All notices must be
sent to the party or parties entitled to notice at the addresses first set forth in this Agreement Any Party may change its address for notice

purposes on five days prior written notice to the other Parties.
INTEGRATION AND AMENDMENT. This Agreement and other written agreements among the Parties, including but not limited to the

Related Documents, are the entire agreement of the Parties and will be interpreted as a group, one with the others. None of the Parties will be
bound by anything not expressed in writing, and this Agreement cannot be modified except by a Writing executed by those Parties burdened by

the modification

FURTHER ACTiON. Obligors will, upon request of Lender, make, execute, acknowledge, and deliver to Lender the modified and additional
instruments, documents, and agreements, and will take the further action that is reasonably required, to carry out the intent and purpose of this
transaction

CONTINUING EFFECT. Unless superseded by a later Business Loan Agreement, this Agreement will continue in full force and effect until
all of the Obligors' obligations to Lender are fixlly satisfied and the Loan and indebtedness are fully repaid.

HEADINGS. All headings in this Agreement are included for reference only and do not have any effect on the interpretation of this Agreement.

COUNTERPARTS. This Agreement may be executed by the Parties using any number of` copies of the Agreement All executed copies taken
together will be treated as a single Agreement.

TIME iS OF THE ESSENCE. Time is of the essence in the performance of this Agreement

TRANSFERS. Borrower may not assign or transfer its rights or obligations under this Agreement without Lender's prior written consent.
Lender may transfer its interest in Lender's sole discretion. Borrower waives all rights of`of`fset and counterclaim Borrower has against Lender,
The purchaser of a participation in the loan may enforce its interest regardless of any claims or defenses Borrower has against Lender.

JURISDICTION. Obligors agree to waive any objection to jurisdiction or venue on the ground that Obligors are not residents of Lender's
locality. Obligors authorize any action brought to enforce Obligors' obligations to be instituted and prosecuted in any state court having
jurisdiction or in the United States District Court for the District that includes Lender's location as set forth at the beginning of this Agreement.

Obligors authorize Lender to elect the court at Lender's sole discretion.

WAIVER OF JURY TRIAL. All parties to this Agreement hereby knowingly and voluntarily waive, to the fullest extent permitted by
law, any right to trial by jury of any dispute, whether in eontraet, tort, or otherwise, arising out uf', in connection with, related to, or
incidental to the relationship established between them in this Agreement or any other instrument, document or agreement executed or

delivered in connection with this Agreement or the related transactions

ORAL AGREEMENTS DISCLAIMER. This Agreement represents the final agreement between the parties and may not be contradicted by
evidence of prior, contemporaneous or subsequent oral agreements of the parties. There are no unwritten oral agreements between the parties.

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By signing this Agreement, Borrower acknowleng reading, understanding and agreeing to all its provisions and receipt of' a copy

 

hereon

tit _ M %£Lé afr/2
Kevin Chandler Martin Date
individually

LENDER: Prosperity Ban
/r//w /;a>s\_h 7~/5' />
" " %`/g=§r~ Date

 

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EXHIBIT

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ASSIGNMENT OF LEASES AND RENTS

THiS ASSiGNMENT Oi-` LEASES AND RENTS ("Assignment") is made on April ll, 20]3, between Kevin

Chandler Martin, whose address is P.O. Box 328, Wewahitchka, Florida 3246§ ("Assignor") and Prosperity
Bank whose address is 2606 South Highway 77, Lynn Haven, Florida 32444 ("Assignee"), which is organized
and existing under the laws of` die State of Florida. Assignor, in consideration of loans extended by Assignee up to

a maximum principal amount of One Hundred Thirty-eight Thousand Nine Hundred Forty-two and 54/100
Dollars (3138,942.54) and for other valuable consideration, the receipt of which is acknowledged, hereby grants,

transfers, assigns and sets over to Assignee all right, title and interest in and to all rents, issues, profits and

privileges (now due or which may hereafter become due) of the following described real property:

Address: 280 Cary Whitf'reld Road, Wewahitchita, Florida 32465
Legal Deseription: Ref'erence Original Mortgage

("Property") which secures the following:
c Loan with a principal amount of $138,942.54

Assignor further grants all leases now or hereafter existing on all or any part of the Property, whether written or
oral, or any letting or any agreement for the use of occupancy of any part of the Property which may have been or
which may hereafter be made or agreed to between Assignor and any other present, prior, or subsequent owner of
the Property, or any interest therein, or which may be made or agreed to by Assignee, its successors or assigns,
under the powers herein granted, and any tenant or occupant of all or any part of the Property (collectively, the
"Leases" and each, a "Lease").

RELATED DOCUMEN'|`S. The words "Related Documents" mean all promissory notes, security agreements,
prior mortgages, prior deeds of trust, business loan agreements, construction loan agreements, resolutions,
guaranties, environmental agreements, subordination agreements, assignments of leases and rents and any other
documents or agreements executed in connection with this Assignment whether now or hereafter existing. The
Related Documens are hereby made a part of this Assignment by reference thereto, with the same force and effect

as if fully set forth herein.

lNDEBTEDNESS. This Assignment secures the principal amount shown above as may be evidenced by a

promissory note or notes of even or subsequent date hereto, including future advances made within 20 years from

the date hereof up to a "Maximum Principal indebtedness" of One Hundred Thirty-eight Thousand Nine
Hundred Forty-two and 54/100 Doilars (3138,942.54) and every other indebtedness of any and every kind now
or hereafter owing from Assignor to Assignee, howsoever created or arising, whether primary, secondary or

contingent, together with any interest or charges provided in or arising out of such indebtedness, as well as the

agreements and covenants of this Assignment and all Related Documents (hereinafter all referred to as the

"Indebtedness"). Unless expressly stated herein to the contrary, nothing contained in this Assignment obligates

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Assignmen\ ofLerus and Rents - DLdno| me l aid mvw.r:nmplimcsyslerm:um

 

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Assignee to make any fixture advances under the note(s) of even date herewith or to extend further credit (under
separate notes or in any other manner).

AMENDMENT OR MODIF]CAT|ON OF LEASES. With respect to any Existing Leases or any Leases
executed upon tile Property offer the creation of this Assignment and so long as thc indebtedness remains unpaid,
Assignor shall not, without the written consent of Assigncc: (a) cancel any Lcasc&; (b) accept the surrender of any
Leascs; (e) modify or alter any Leases in any way, either orally or in wn`ting; {d} reduce the rental set forth in any
Lcoses; (e) consent to the assignment of any lcssce's interest under any Lcascs, or to any subletting lhcrcundcr; or
(t) make any other assignment, pledge, encumbrance, or any other disposition of any Leases, or of the rentes,
issues and profits derived from the use of the Property. Any of the above acts, if done without the written consent
of Assignee, shall be null and void, and shall constitute a default under the Assignment and the Related

Documents.

REPRESENTATIONS OF ASSIGNOR. Assignor hereby represents: (a) except for the Existing Leases, there
arc no |cases, subleases or agreements to lease or sublease all of or any part of the Property; (b} the Existing
Leases arc valid and enforceable-and no default exists under thc Eixisting Leascs; (e) Assignor is entitled to receive
all the rcnts, issues and profits and to enjoy all the rents and benefits mentioned herein and assigned hcrcby; [d)
said rcnts, issues and profits have not bean so|d, assigned transferred or set over by any instrument now in force
end shall not at any time during thc life ofthis Assignment be so|d, assigned, transferred or set over by Assignor,
or any other person taking under or thrqu Assignor except as pursuant to this Assignmcnt: and (e) Assignor has
thc sole right to sel!. assign, transfcr, and set over the same and to grant and confer upon Assignee the rights
interesis, powers, and authorities herein granted and oonf`errr:d.

COLLECTIUN OF RENTS. Providcd no Event of Del`au|t exists under the indebtedness or any of the Related
Documents Assignee agrees not to demand from any lessor or lessee under thc Existing Leases or from any other
persons liable lhcrci`or. any of the rents, issues or profits hereby assigned but shall permit Assignor to collect all
such rents, issues and pronts from the Property and the Existing Loases, so long as not collected more titan one (|)
month in advance of their due datc.

EVENTS OF DEFAULT. The following events shall constitute default under this Assignment (each an "Event of
Del`ault"}:

(a) Fai lure to make required payments when due under Indebtedness;

(b) Failure to perform or keep any of the covenants of this Assignment or a default under any of the
Related Documents;

(e) The making of any oral or written statement or assertion to Assignee that is false or misleading in any
material respect by Assignor or any person obligated on the lndebtedness;

(d) The dcarh, dissolution, insolvency, bankruptcy or receivership proceeding of Assignor or of any person
or entity obligated on the lndcbtcdnr:ss;

(e) Any assignment by Assignor for the benefit of Assignor's creditors;

(f) A material adverse change occurs in the financial condition, ownership or management of Assignor or
any person obligated on the indebtedness; or

(g) Assignee deems itself insecure for any reason whatsoever.

REMEDiES. Upon the occurrence of an Event of Def`ault under this Assignment, the indebtedness or the Related
Documents, Assignee may declare all sums secured hereby immediately due and payable and may, at Assignee's
option, without notice_. either in Assignce's person or by agent and with or without bringing any action or
proceeding or by any receiver appointed by thc court, enter upon, lake possession ot`, and manage end operate the
Property, and each and every pan thcreol', and in connection tircrewlr.h, Assignee may make, r:nforcc, and modify
any of the Leases; fix or modify renrs; repair, maintain and improve the Properry; employ conn-actors.
subcontractors and workmen in and about the Property; obtain and evict tcnants'. in its own name, sue for and
otherwise collect or reserve any and all rcnts, issues and prolits, including those past due and unpaid; employ
leasing agents, managing ogcnts, attorneys and accountants in connection with the enforcement ofr'\ssignee‘s rights
hereunder and pay the reasonable fees and expenses thercof; and otherwise do and perform any and all acts which

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Assignee may deem necessary and appropriate in and about the Property for the protection thereof and of
Assignee’s rights hereunder and under the Related Documents, and any and all amounts expended by Assignee in
connection with the foregoing shall constitute additional Indebtedncss secured hereby to the extent permitted by
law. Assignee shall apply any moneys collected, as aforesaid, less costs and expenses incurred, upon any
indebtedness secured hereby in such order and manner as Assignee may determine and to the extent permitted by
law.

NOT[CES AND WAiVER OF NOTlCE. Unless otherwise required by applicable law, any notice or demand
given by Assignee to any party is considered effective when it is deposited in the United States Mail with the
appropriate postage, mailed to the address of the party given at die beginning of this Assignment unless an
alternative address has been provided to Assignee in writing. To the extent permitted by law, Assignor waives
notice of Assignee's acceptance of' this Assignment, defenses based on suretyship, any defense arising from any
election by Assignee under die United States Bankruptcy Code, Uniform Commercial Code, as enacted in the state
where Assignee is located or other applicable law or in equity, demand, notice of` acceleration, notice of
nonpayment, presentment., protest, notice of dishonor and any other notice.

TO THE EXTENT PERMITTED BY LAW, ASSIGNOR WAIVES ANY RlGHT TO NOTICE, OTHER
THAN THE NOTlCE PROVIDED ABOVE, AND WAIVES ANY RIGHT TO ANY HEAR]NG,
JUDICIAL OR OTHERWISE, PR!OR TO THE ASS]GNEE EXERCISING iTS RIGHTS UNDER THIS
ASSIGNMENT.

PAYMENT OF RENTS TO ASSlGNEE. All tenants or occupants of any part of the Property (including without
limitation, all persons claiming any interest as lessor or lessee under any Leases) are hereby authorized to
recognize the claims and demands of Assignee without investigation as to the reason for any action taken by
Assignee or the validity of the amount of indebtedness owing to or the existence of any default hereunder or under
the Related Documean, or the application of payments made by Assignee, of any amounts to be paid to Assignee.
Assignee's sole signature shall be sufficient for the exercise of any right under this Assignment and Assignee's sole
receipt given for any sums received shall be a full discharge and release therefor to any such tenant or occupant of
the Property. Checks for all or any part of the rental collected under this Assignment shall be made to the exclusive
order of Assignee,

ASSIGNABIL!TY. Assginee may assign or otherwise transfer this Assignment or any of Assigiee's rights under
this Assignment without notice to Assignor. Assignor may not assign this Assignment or any part of the
Assignment without the express written consent of`Assignee.

ASSlGNEE'S RiGl-ITS AND REMEDIES. The rights and remedies of the Assignee under this Assignment are
cumulative, and are not in lieu of, but are in addition to all other rights and remedies which Assignee has under this
Assignment and the Related Documents.

SUCCESSORS AND ASSiGNS. All covenants and agreements contained in this Assignment shall bind, and the
rights hereunder shall inure to the respective successors and assigns of die Assignor and the Assignee.

ENTIRE AGREEMENT; MODiFiCATlONS; SEVERABlLlTY. This Assignment shall constitute the entire
agreement between Assignee and Assignor. Any modification of this Assignment shall be binding only if placed in
writing and signed by the Assignee and Assignor. The invalidity of any provision of this Assignment shall not
affect the validity of any other provision.

PARAGRAPH HEAD]NGS; SINGULAR AND PLURAL TERMS. The titles to the paragraphs of this
Assignment are solely for the convenience of the parties and shall not be used to interpret this Assignment.
Whenever used, the singular shall include the plura|, the plural shall include the singular, and the use of any gender

shall be applicable to all genders.

ATTORNEYS' FEES AND OTHER COSTS. if legal proceedings are instituted to enforce the terms of this
Assignment, Assignor agrees to pay all costs of the Lender in connection therewith, including reasonable attomeys'
fees, to the extent permitted by law.

id 1004-lull Complimr:a Systems. inc (lB§'l-OCSS - ll'll lLl.J ]li)

Assignment ofleases and Rents - DlAM| Page 3 ord mv\v.compiiancesys\mo cum

 

 

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l

GOVERN`|NG LAW. This Assignment will be governed by the laws of the State cf Florida including all
proceedings arising from lhis Assignan

WAlVER OF JURY 'l'RlAL. All pnrtlcs to this Assignment hereby knowingly and voluntarily waive, to the
fullest extent permitted by law, any right to trial by jury of any dispute, whether in eontract, tort., or
otherwise, arising out ol', in connection with, related to, or incidental to the relationship established
between them in this Assignment or any other instrument, document or agreement executed or delivered in
connection with this Assignment or the related transactions

ORAL AGREEMEN'I‘S DISCLAIMER. Ti‘l.is Assignment rnpmeols the final agreement between the parties
and may not bn contradicted by evidence ofprior. contemporaneous or subsequent orn| agreements of the parties.
There are no unwritten oral agreements between the parties.

By signing this Assignment, assignor acknowledges reading, understanding, and agreeing to all its

 

provisions.
Kwanda n=é' <//v/z
Kevin Chandler Martin Date

individually

Witnessed by:

 

Mgl 111/rao 13 W a=//n/,b,§
Date Na'me: Date

lNDlVlDUAL ACIUOWLEDGMEN'l`

 

STATE OF FLORIDA )

COUNTY OF

 

   
   
   
 

The foregoing instrument was acknowled ed below me lllis. ' -`E:\‘Fl‘-‘,l ' l ` " by Kevin
Chandler Martio, who has produced ¢x;‘{l'=é*;,*§¢* a s ine;ory idencc o®’hor id::::yimess

whereof, l hereunto set my hand and my official seal.

 

 

 

 

(Ohicial Seal)

THIS lNSTRUMEN'l' PREPARED BY: AFI`ER RECORDING RETURN TO:

Prosp erity Bank Prosperity Bank

100 Southpark Blvd. 100 Southpark Blvd.

Saint Augustine, FL 32086 Saint Augustine, FL 32086

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EXHIB|T

J-

UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

PANAMA CITY DIVISION
IN RE:
KEVIN CHANDLER MARTIN CASE NO.: 18-50157-KKS
CHAPTER 7
DEBTOR.

/
AFFIDAVIT OF MOVANT IN SUPPORT
OF MOTION FOR RELIEF FROM STAY AS TO SURRENDERED PROPERTY

STATE OF FLORIDA
COUNTY OF BAY

BEFORE ME, the undersigned authority personally appeared J. Christopher Barr, Esg.
(hereinafter the “Afiiant”), Who upon being duly sworn and upon oath, deposes and says:

l. I am an attorney employed with the law firm of Bryant, Higby, & Barr, Chartered.

2. Bryant, Higby, & Barr, Chartered, represents Ameris Bank, a Gcorgia
corporation, successor in interest by merger of Prosperity Bank (hereinafter the “Movant”) in the
Motion F or In Rem Relief F rom Automatic Stay filed in this action by Movant.

3. The Affiant has reviewed the chtor’S Voluntary Petition filed in this action.
According to Debtor’s Statement of Intentions, the Debtor intends to surrender the following real
property:

See attached Exhibit A.

  

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4. As of the date of this Affidavit, the Affiant has examined the CM/ECF docket for
this cause of action and has found no entries or documents filed evidencing a contrary intent on

the party of the Debtor.

FURTHER AFFIANT sAYETH NOT. /y{/l/M/(' j § w

J. CHRISTOPHER BARR

 

State of 9 Ll

County of § 531 §

The forgoing instrument was sworn and acknowledged before me this 5 day of
( !g,l[£ , 2018, by J. Christopher Barr as counsel for Ameris Bank, a Georgia corporation, who
` ge nally known to me or who produced /_\ ., _ as identification

 

   

 

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EXH|B|T

§ A

Starting at the Northwest corner of Hugh Lansden's property, run Westward on South side of
Highway 22, 721 feet; then turn Southwestward 908 feet to the Point of beginning; begin
and run in Southwest direction 1205 feet to 1/2 section line of Section 17, Township 4
South, Range 10 West; thence run Eastward along said 1/2 section line 865 feet to Hugh
Lansden's Southeast corner, then run North direction along the line of Hugh Lansden's
property 1070 feet; thence turn West and run 538 feet back to the Point of Beginning. This
property is located on Section 17, Township 4 South, Range 10 West, Gulf County, Florida.
AND ALSO

That part of the following described lands not included in the above described tract:
Beginning at the Northwest corner of Gordon C. Martin's property and run in a
Southwestward direction along Gordon C. Martin's West line to 1/2 section line of Section
17, Township 4 South, Range 10 West, 1205 feet; thence run Westward along 1/2 section
line to CCC Road No. 8 for 209 feet; thence run in a Northeast direction along the East side
of CCC Road No. 8, 1208 Feet; thence run in an Eastern direction back to the Point of
Beginning 215 feet. This property is located on Section 17, Township 4 South, Range 10
West, Gulf County, Florida.

